     Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 1 of 63 PAGEID #: 1




                          UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                           At Cincinnati


DEBRA SCHWEIZER                                               Case No. 1:21-CV-742

                       Plaintiff,

                       v.

FORD MOTOR COMPANY, a Delaware
Corporation

                       Defendant.


                        CIVIL COMPLAINT WITH JURY DEMAND


    1. This case arises from Plaintiff Debra Schweizer’s November 19, 2012 purchase of a new 2013

Ford Fiesta, Vehicle Identification Number 3FADP4BJ5DM153184 (“Vehicle”).

    2. Plaintiff’s Vehicle was one of many thousands of vehicles equipped with an unsafe and

defective transmission known as the “DPS6 PowerShift Transmission” (“PowerShift Transmission”

or “DPS6”). 1

    3. As a result of a myriad of defects plaguing the Vehicle, Ford Motor Company (“Ford”)

violated its statutory and common law warranty and disclosure obligations related to the Vehicle,

which was subject to Ford warranties. Ford thereby breached its express and implied warranties,

violated the Magnuson-Moss Warranty Act, 15 U.S.C. § 2301, et seq., violated the Consumer Sales

Practices Act, Ohio Revised Code § 1345.01, et seq., and committed fraud and concealment.




1Ford marketed and sold thousands of 2011-2016 Ford Fiesta motor vehicles and 2012-2016 Ford Focus
motor vehicles equipped with the same defective DPS6 transmission globally.

                                                  1
     Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 2 of 63 PAGEID #: 2




    4. Ford, either directly or through its authorized repair facilities, failed to repair Plaintiff’s Vehicle

to conform to Ford’s written warranties after a reasonable number of opportunities or within a

reasonable amount of time. Moreover, Ford failed to promptly replace Plaintiff’s Vehicle or make

restitution for the car. Plaintiff further alleges that the Vehicle was unmerchantable at the time of sale

or lease, and unfit for it intended use, and thereby failed to conform to the representations on the

Vehicle’s label. Plaintiff also generally alleges that Ford concealed one or more known defects at the

time of sale (and thereafter), and affirmatively misrepresented the Vehicle’s qualities at the time of

sale, thereby inducing Plaintiff into the purchase of the Vehicle.

    5. The DPS6-equipped Ford Focus and Fiesta vehicles, including the Vehicle herein, was and is

dangerous to consumers and the public at large, because the defective DPS6 could, and indeed does,

cause such vehicles to lose power unexpectedly while driving (referred to as an “unintended neutral

event” or “loss of motive power”); jerk and buck erratically, and otherwise fail in ways that reportedly

could and did cause accidents and injuries (aforementioned problems collectively referred to as

“Transmission Defects”).

    6. Ford knew prior to the initial launch of DPS6-equipped vehicles, which includes the subject

vehicle, and at all times since, that the defects in the PowerShift Transmission rendered the Vehicle

defective and dangerous.

    7. Ford knew that such DPS6-equipped vehicles, which includes the subject Vehicle, did not and

could not comply with Ford’s warranty obligations or with Plaintiff’s reasonable expectations.

    8. Ford told one or more suppliers of DPS6 components that the DPS6 PowerShift

Transmissions were dangerously defective and that said defect was irreparable; furthermore, Ford

demanded that one or more suppliers compensate Ford for increased warranty costs related to the

DPS6 nonconformities. Meanwhile, Ford continued to sell vehicles equipped with the DPS6

PowerShift Transmission to consumers.

                                                     2
     Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 3 of 63 PAGEID #: 3




    9. Ford and its suppliers ultimately entered into one or more secret agreements, negotiated at the

highest levels of Ford’s management, whereby the supplier(s) paid Ford hundreds of millions of

dollars for increased warranty costs that Ford incurred due to the DPS6 defects. Despite the payoff

Ford received, Ford fraudulently concealed the known defects with the DPS6 from third-parties in

the United States (e.g., consumers including Plaintiff, governmental regulators such as the U.S.

National Highway Safety Administration (“NHTSA”)) and abroad (e.g., the Australian Consumer and

Competition Commission (“ACCC”)).

    10. Ford affirmatively misrepresented to Plaintiff, consumers and regulators that the DPS6’s

aberrant operations were “normal operating characteristics” and that there was nothing wrong with

the transmission, consistent with Ford’s secret settlement deal.

    11. Despite Ford’s admissions in a consent decree in a regulatory proceeding by the ACCC, which

is part of the public record of that Australian regulatory agency, and which resulted in Ford paying a

(AUS) $10 million penalty/fine for engaging in unconscionable conduct regarding DPS6-equipped

Focus and Fiesta vehicles, Ford continues to deny the defects in the DPS6-equipped Focus and Fiesta

vehicles. See https://www.accc.gov.au/media-release/court-orders-ford-to-pay-10-million-penalty-

for-unconscionable-conduct (last visited November 18, 2021).

   12. Ford’s corporate misconduct and fraud is alleged in greater detail infra, with specific references

to, and quotations from, Ford’s own internal corporate documents, inter alia.

                            RELEVANT PROCEDURAL HISTORY

   13. This case arises from a consolidated case filed in April 2017 in the Wayne Circuit Court in

Michigan. The case was styled Cyr, et al. v. Ford Motor Company, Case No. 2017-006058-NZ.

   14. The Cyr plaintiffs were among over 12,000 named plaintiffs, who filed approximately 83

actions in the Wayne Circuit Court after opting out of a nationwide class action settlement against



                                                   3
     Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 4 of 63 PAGEID #: 4




Ford, Vargas v Ford Motor Company, United States District Court, Central District of California, Case

No. 2:12-cv-08388 ABC (FFMx).

    15. Both Cyr and Vargas allege the same Transmission Defects complained of herein.

    16. In February 2018, Ford filed a motion seeking summary judgment of, inter alia, the Michigan

Consumer Protection Act claims and dismissal of the nonresident Plaintiff’s claims under the doctrine

of forum non conveniens. Ford argued that resolution of the non-Michigan Plaintiff’s claims should

be handled in their home jurisdictions, not Michigan. The Wayne Circuit Court denied Ford’s motion.

    17. In November 2018, the Michigan Court of Appeals granted Ford leave to appeal. Cyr, et al. v.

Ford Motor Company, Case Appeal No. 345751. On December 26, 2019, the Michigan Court of appeals

reversed the lower court’s holding.

    18. In February 2020, Plaintiff filed an application for leave to appeal the appellate decision with

the Michigan Supreme Court, which was denied on November 4, 2020.

    19. In November 2020, the Plaintiff moved the Michigan Supreme Court for reconsideration. On

July 16, 2021, that request was denied.

    20. Plaintiff now bring this case in accordance with the Order of the Michigan Court of Appeals.

    21. Plaintiff anticipate this case will be promptly transferred to the pending Multidistrict Litigation,

In re: Ford Motor Co. DPS6 Powershift Transmission Products Liability Litigation, MDL No. 2814 pursuant

to 28 U.S.C. § 1407, which will serve the convenience of the parties and witnesses and promote the

just and efficient conduct of this litigation. The actions in MDL No. 2814 involve common factual

questions arising out of allegations that the DPS6 PowerShift transmission installed in certain Ford

Fiesta and Ford Focus vehicles is defective and negatively affects the drivability, safety, and useful life

of the vehicles. See In re Ford Motor Co. DPS6 PowerShift Transmission Prods. Liab. Litig., 289 F. Supp. 3d

1350, 1352-53 (J.P.M.L. 2018).



                                                     4
     Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 5 of 63 PAGEID #: 5




                           JURISDICTION, JOINDER AND VENUE

    22. Plaintiff purchased the Vehicle from Cronin Ford, an authorized Ford dealership located in

Harrison, Ohio.

    23. The Vehicle was presented to Ford’s authorized repair dealerships related to the Transmission

Defects within the state of Ohio, as set forth infra.

    24. This Court has original jurisdiction to hear this case by virtue of 15 U.S.C. § 2310(d)(1)(A), the

Magnuson-Moss Warranty Act, conferred under 28 U.S.C. § 1131.

    25. Ford is a corporation organized and in existence under the laws of the State of Delaware with

its principal offices located in the City of Dearborn, Wayne County, Michigan.

    26. Ford was and at all times relevant has been, engaged in the marketing, distributing, selling, and

leasing motor vehicles in the state of Ohio.

    27. Ford is registered to do business in the state of Ohio.

    28. Venue is proper in this District because Ford conducts business in this district.

                                       PARTIES AND FACTS

    29. Plaintiff, Debra Schweizer, is, and at all times relevant has been, a resident of Harrison, Ohio

in Hamilton County.

    30. On November 19, 2012, Plaintiff purchased the Vehicle.

    31. The Vehicle was designed, manufactured, constructed, assembled, marketed, distributed, sold

and/or imported by Ford.

    32. In connection with the purchase of the Vehicle, Plaintiff received from Ford an express

written warranty. In said warranty Ford warranted it would preserve or maintain the utility or

performance of the Vehicle or provide compensation if there is a failure in utility or performance for

a specified period. The warranty provided, in relevant part, that in the event a defect developed with

the Vehicle during the warranty period, the owner could deliver the vehicle for repair services to a

                                                    5
     Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 6 of 63 PAGEID #: 6




Ford authorized repair dealership and the vehicle would be repaired.

    33. Because of the widespread known Transmission Defects, Ford also extended warranty

coverage for specific transmission components. These extended warranties include, inter alia, in July

2014, the 14M01 warranty covering the clutch, with a scope of 7 years and 100,000 miles; and another

in February 2015, the 14M02 warranty covering the Transmission Control Module (“TCM”), with a

scope of 10 years and 150,000 miles.

    34. The Vehicle was, and is, equipped with a DPS6 Transmission.

    35. The Vehicle was delivered to Plaintiff with serious defects and nonconformities to the

warranty, and developed other serious defects and nonconformities to warranty including, but not

limited to, transmission problems that caused the Vehicle to malfunction in the manner detailed

herein.

    36. The Ford window sticker on the Vehicle stated that the Vehicle had a “6 SPD AUTO

TRANS.”

    37. Based on the representations made by Ford and Ford’s authorized dealerships, Plaintiff

reasonably believed the Vehicle was equipped with an automatic transmission that would shift

smoothly, and was safe – as opposed to a vehicle that had Transmission Defects, and that would suffer

from any of the results of those Defects specified above, e.g., unintended neutral events, consistent

slipping, bucking, kicking, jerking, harsh engagement, premature internal wear, sudden acceleration,

delay in downshifts, delayed acceleration, difficulty in stopping the vehicle, and premature

transmission failure.

    38. During, before or following the purchase of the Vehicle, Plaintiff was not informed by any

Ford salesperson or Ford representative, nor did Ford otherwise disclose in any manner to Plaintiff,

that the Vehicle was not actually equipped with an automatic transmission or that it suffered from the

Transmission Defects by the very nature of its design and manufacture.

                                                  6
      Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 7 of 63 PAGEID #: 7




    39. At no point before Plaintiff purchased the Vehicle did Ford or its authorized agents publicly

or privately disclose to any plaintiff, any information about the Transmission Defects.

    40. Ford’s omissions were material to Plaintiff’s decisions to purchase the Vehicle. Had Ford or

its authorized agents publicly or privately disclosed the Transmission Defects before Plaintiff

purchased the Vehicle, Plaintiff would have been aware of such disclosures, and would not have

purchased the Vehicle.

    41. In deciding to purchase the Vehicle, Plaintiff relied on said representations and non-

disclosures, and on Ford’s reputation as an established and experienced automobile manufacturer that

would not misrepresent the qualities of the Vehicle’s transmission.

    42. In deciding to purchase the Vehicle, Plaintiff relied on Ford’s representations and non-

disclosures, and believed that Ford would not sell dangerous automobiles to consumers such as

Plaintiff.

    43. But for Plaintiff’s reasonable reliance upon Ford’s representations and non-disclosures,

Plaintiff would not have purchased the Vehicle.

    44. The DPS6 Transmission is defective, and causes sudden acceleration, delayed acceleration,

hesitation on acceleration, difficulty stopping the vehicle, jerking, bucking and kicking, shuddering

on acceleration, lack of power, delayed downshifts, slipping of gears while driving, transmission

fluid leaks, and/or premature wear of the internal components of the Vehicle.

    45. Within the time and mileage parameters of the express warranties that accompanied

Plaintiff’s Vehicle, Plaintiff presented the Vehicle to Ford’s authorized repair facilities and

dealerships for diagnosis and repair of Transmission Defects, as follows:

         a. On September 24, 2013, ten months after Plaintiff’s purchase, the vehicle went into the

             Cronin Ford repair facility for 23 days, at only 18,541 miles.. The repair order noted

             complaints that something was wrong with the transmission, including problems

                                                  7
Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 8 of 63 PAGEID #: 8




     accelerating from a stop and noise. The Ford dealership verified the complaints and noted

     the transmission was slipping and shuddering. The car underwent a complete replacement

     of the clutch and seals, as well as various software updates.

  b. On April 3, 2015, Plaintiff presented the Vehicle to Cronin Ford again. The odometer read

     51,834 miles at this time. The complaints included hesitation, failure to accelerate and a

     lack of motive power. The Ford dealership verified the clutch had failed again, and advised

     Plaintiff would have to return for a clutch replacement, which was scheduled for April 17.

  c. On June 24, 2015, the car was taken back to Cronin Ford with 57,951miles on the

     odometer. Plaintiff advised of the same transmission concerns. The concerns of excessive

     shuddering were again verified, and the clutch was seals were replaced again.

  d. On October 3, 2015 the car was presented to Cronin Ford again. This time, the TCM was

     reprogrammed per Ford’s recall.

  e. On January 18, 2016, the car was taken back with the same complaints of excessive

     shuddering when accelerating. The problems were verified again, and a new clutch was

     ordered. Notably, the parts were often on backorder due to the widespread nature of the

     DPS6 Transmission Defects and resulting clutch failures. At this time, the representative

     at Cronin Ford also told Plaintiff that Ford was still directly its repair facilities to install

     “the same old clutches, no new clutch or remedy has been created.

  f. On April 19, 2016 Plaintiff returned the Vehicle to Cronin Ford for the clutch replacement

     ordered three months earlier.

  g. On February 3, 2017 through February 6, 2017, the car was again presented to Cronin

     Ford with complaints of shuddering and slipping of the transmission. While the Ford

     dealership confirmed the shudder, it was measured at 208 RPM. Because it didn’t meet or

     exceed the artificial number created by Ford – 250 – nothing was done pursuant Ford’s

                                              8
     Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 9 of 63 PAGEID #: 9




            policy of what it would force owners of the DPS6-equipped cars to tolerate.

        h. On February 15, 2017 the car returned to Cronin Ford, where it remained until March 1,

            2017. Because the car had just been checked on February 3, 2017, Ford considered the

            testing performed at this visit to a “good will gesture.” The RPM was recorded at 477

            RPM. As a result, the car underwent yet another clutch replacement.

    46. Ford authorized and controlled the actions and omissions of its repair facilities and

dealerships. Under the theories of agency and respondeat superior, Ford is liable for the actions and

inactions of its authorized repair facilities and dealerships.

    47. All repair attempts performed by the Ford repair facilities and dealerships were unresolved

because the Transmission Defects were and are irreparable.

    48. All acts of corporate employees, including Ford’s repair facilities and dealerships, as alleged

were authorized or ratified by an officer, director or managing agent of the corporate employer, Ford.

    49. Following the return of the Vehicle to Plaintiff by Ford’s repair facilities and dealerships after

the service attempts to the Vehicle’s Transmission Defects, Plaintiff believed the Ford representatives’

representations that the Vehicle had been repaired and/or was safe to drive; Plaintiff’s reliance on

these representations was reasonable.

    50. All repairs to the Vehicle set forth herein were covered under Ford’s written warranty.

    51. Ford knew about and concealed from Plaintiff the Transmission Defects present in the

Vehicle, along with the Transmission Defects’ attendant dangerous safety and drivability problems;

said knowledge and concealment existed at the time of sale, repair, and thereafter. In fact, instead of

repairing the Transmission Defects, Ford either refused to acknowledge their existence, or performed

superficial and ineffectual software updates that simply masked the symptoms of the Transmission

Defects.

    52. Ford disseminated false information to its authorized Ford’s repair facilities and dealerships

                                                     9
    Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 10 of 63 PAGEID #: 10




and to prospective purchasers, falsely claiming that the defective DPS6 Transmission functioned

“normally.” Ford disseminated this and other false information to discourage repair and service

attempts related to the Transmission Defects in an effort to foreclose consumers in this state of

consumer protection laws designed to protect them.

    53. Upon information and belief, Ford has superior access to Plaintiff’s Vehicle’s warranty and

warranty repair history.

    54. Plaintiff’s Vehicle was subject to the applicable Ford warranties at the time of any repair

attempts made by the Ford’s repair facilities and dealerships related to the Transmission Defects giving

rise to this action.

    55. Notwithstanding repair visits and opportunities to repair this Vehicle by the Ford’s repair

facilities and dealerships, the transmission problems with the Vehicle have never been fixed by Ford’s

authorized repair facilities, and the Transmission Defects continue to plague Plaintiff’s Vehicle.

    56. The Vehicle’s acceleration, jerking, shuddering and other problems experienced by Plaintiff,

as described in detail infra, are consistent to the DPS6 transmission problems.

    57. Ford and its agents never disclosed to Plaintiff, at the time of sale or thereafter, any of the

Transmission Defects Ford knew to exist.

    58. As a result of Ford’s inaction and silence, Plaintiff was completely unaware that the Vehicle

was unsafe and unreliable.

    59. As a reasonable person, Plaintiff would consider the Transmission Defects important, and

would not have purchased a vehicle equipped with the DPS6 Transmission if the defects had been

disclosed in advance.

    60. Plaintiff hereby revokes acceptance of the respective sales contract related to the Vehicle.

             OVERVIEW OF THE DESIGN AND OPERATION OF THE DPS6

    61. Ford introduced the DPS6 in its Fiesta and Focus vehicles for the 2011 and 2012 model years,

                                                  10
    Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 11 of 63 PAGEID #: 11




respectively.

    62. Plaintiff’s Vehicle was manufactured by Ford and delivered to Plaintiff equipped with the

DPS6. Ford offered the PowerShift Transmission as the sole “automatic transmission” option in

Plaintiff’s vehicle.

    63. With Ford’s input, the DPS6 was designed by Getrag, a German transmission manufacturer.

Getrag worked in concert with LuK, a German manufacturer of clutch components. The parts were

supplied to Ford for incorporation as original equipment into DPS6-equippped Ford Focus and Fiesta

vehicles. According to Ford, the DPS6 was supposed to provide uninterrupted torque from “twin

internal clutches to keep changes among its six forward gears smooth and seamless, automatically.

One clutch supports the uneven gearset, one, three and five; while the other clutch controls the even

gears, two, four and six. The powertrain control unit that electronically integrates and harmonizes

engine and DPS6 PowerShift automatic transmission operation always keeps the engine in peak

efficiency range. In conjunction with six optimally spaced gears, DPS6 increases smoothness between

gears, without engine torque falling off.”

    64. The DPS6 is neither a traditional manual transmission, nor a typical automatic transmission,

but rather is a computerized “automated manual” transmission.

    65. Traditional manual transmissions use a driver-controlled clutch. By pressing and releasing a

foot pedal, the driver causes the clutch to mechanically engage and disengage the engine from the

transmission, allowing the vehicle to travel continuously while the driver manually changes gears. The

clutch in a traditional manual transmission is a “dry clutch,” incorporating at least one clutch disc,

which is covered with a friction material (asbestos, carbon fibers). The clutch disc is fixed to the input

shaft of the transmission’s gearbox. When the friction material on the face of the clutch disc is pressed

against the engine’s rotating flywheel (which is done with a “pressure plate” utilizing strong springs),

the clutch disc “locks onto” the flywheel with tremendous force, allowing the engine’s flywheel to

                                                   11
    Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 12 of 63 PAGEID #: 12




turn the transmission’s input shaft with virtually no slippage or friction loss. Because a dry clutch

allows for transfer of virtually all the engine’s power to the transmission without friction losses, a

properly designed and operating manual transmission is highly fuel-efficient. However, operation of

a manual transmission can be difficult for less experienced drivers and can result in the vehicle jerking

or shuddering during improper operation. Consequently, manual transmissions are disfavored by

some consumers. Moreover, the dry clutch will fail to operate properly if the friction material is

contaminated by oil from either the engine or the transmission’s gearbox.

    66. Traditional manual transmissions are characterized by gear ratios that are selectable by locking

selected gear pairs to the output shaft within the gearbox. All gears within the gearbox are and must

remain lubricated by oil. The gears are arranged on parallel shafts: the input shaft, which is driven by

the engine’s rotation power transferred by the clutch as discussed above, must be sealed to prevent

gearbox oil from contaminating the dry clutch. The output shaft transmits rotation power out to the

vehicle’s wheels. Sometimes a different shaft, known as a countershaft or layshaft, is arranged in

parallel alongside the output shaft; in those applications, the layshaft is turned by the input shaft and

from there, essentially serves as the input shaft for purposes of the gear arrangements and

engagements with gears on the output shaft. The input shaft, or layshaft, and its gears generally rotate

at the same speed as the engine when the clutch disc is pressed to the flywheel. Each input shaft gear

is enmeshed with companion gears on the output shaft; the gears slide along the shafts, when selected

by the driver using the shift lever, to achieve different overall gear ratios for launching from a standstill,

lower speeds, higher speeds, etc. However, because the various pairs of gear sets are not always

engaged with each other, shifting requires the gear speeds to be precisely synchronized and can result

in difficult gear engagements, particularly for inexperienced drivers or with worn gear sets or worn

synchronizers.

    67. In contrast, typical automatic transmissions free the driver from operating the dry clutch using

                                                     12
   Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 13 of 63 PAGEID #: 13




a fluid-filled device called a torque converter. The torque converter is a fluid coupling, in which two

turbines oppose each other within a sealed fluid-filled container. The engine is connected to one

turbine and the transmission’s input shaft is connected to the other. When the engine rotates its

turbine, the moving and pressurized fluid rotates the opposite turbine causing power to be transferred

to the transmission’s input shaft. Thus, the torque converter substitutes for a dry clutch, transmitting

power from the engine to the transmission’s input shaft through a fluid medium rather than direct

mechanical engagement to the flywheel.

    68. Conventional automatic transmissions are characterized by more complicated “planetary gear

sets,” rather than the parallel gears on shafts as in a typical manual. The conventional automatic

transmission’s gearbox contains an input shaft with gears (known as “sun gears”) that are surrounded

by three or four smaller gears (known as “planetary gears”). The planetary gears are held in position

relative to each other by a brace (known as a “carrier”). The planetary gears surround and are

enmeshed with the sun gear. Meanwhile, the set of planetary gears is itself surrounded by (and each

planetary gear is enmeshed with) an outer ring gear. If the sun gear is rotated and the ring gear held

stationary, the planetary gears rotate in an orbit around the sun gear, thereby turning the carrier (and

anything connected to the carrier). If the sun gear is rotated and the planetary carrier held stationary,

the ring gear (and anything connected to that) will rotate around the entire assembly. The arrangements

of sun, ring, and planetary gears are moved hydraulically forward and backward along the input shaft,

and the different components variously allowed to spin or held stationary, to result in various overall

gear ratios. As a result of this arrangement, the gear shifts are typically smoother than (because the

sun, planetary, and ring gears are constantly engaged with each other).

    69. Automatic transmissions offer increased comfort and convenience to drivers because the

torque converter’s fluid coupling transmits power from the engine to the transmission smoothly and

predictably, and because the planetary gear arrangement is more stable and smoother in its operation.

                                                   13
    Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 14 of 63 PAGEID #: 14




Also, there is no need to keep any friction surfaces “dry” or separate from the lubricating transmission

fluid. However, conventional automatics are generally less fuel efficient than manual transmissions

because the torque converter transfers power through fluid less efficiently than a mechanical dry

clutch, and a conventional automatic’s hydraulic shifts are not as “positive” as a manual transmission’s

shifts.

    70. Ford utilizes and has always utilized manual transmissions featuring a dry clutch as described

above and featuring a gearbox housing input and output gears on parallel input and output shafts.

    71. Ford has never, in any instance, equipped any Ford vehicle for sale to the public with a manual

transmission that used any different general type of clutch, nor any different general type of gearbox.

    72. Plaintiff are informed and believe, and therefore allege, that Ford utilizes, and at all times prior

to 2010 had always utilized, automatic transmissions featuring a torque converter to provide a fluid

coupling as described above, and featuring a gearbox housing planetary gear sets as described above,

with a few notable exceptions: the continuously variable transmission (CVT) recently developed and

used in some Ford vehicles; the dual-dry-clutch transmission used in the $200,000+ Ford GT; the

dual-wet-clutch transmission used in some models in the European market; and the DPS6 “automatic”

transmission used in Plaintiff’s Vehicle.

    73. Ford has never, in any other instance, equipped any Ford vehicle for sale to the public with an

“automatic” transmission that used any different general type of power coupling, nor any different

general type of gearbox.

    74. Ford marketed and sold its DPS6 Transmission as an automatic transmission that offered the

“best of both worlds” combining a manual transmission’s fuel economy with an automatic

transmission’s ease of operation and shift quality.

    75. Ford’s DPS6, while sometimes referred to as an automatic, is a set of computerized manual

transmissions. It lacks a torque converter, instead using two clutches to mechanically engage and

                                                      14
   Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 15 of 63 PAGEID #: 15




disengage the engine and transmission. Whereas similar “automated manual” transmissions on the

market use “wet” clutches bathed in oil, Ford’s DPS6 clutches lack the oil pumps and other

components of a wet clutch system, and instead operate “dry.”

   76. Ford incorporated the DPS6 into Fiesta and Focus vehicles to meet heightened governmental

and consumer expectations for fuel economy, performance, convenience, and efficiency. Ford

designed and marketed its DPS6 Transmission as a more advanced and fuel-efficient automatic

transmission. According to Ford’s press release dated March 10, 2010, “PowerShift with dry-clutch

facings and new energy-saving electromechanical actuation for clutches and gear shifts saves weight,

improves efficiency, increases smoothness, adds durability and is sealed with low-friction gear

lubricant for the life of the vehicle. The transmission requires no regular maintenance.”

   77. In theory, a computer-controlled, automated manual transmission may provide the

convenience of an automatic transmission without sacrificing the fuel efficiency and shift speed of a

manual transmission. In practice, however, Ford’s PowerShift Transmission is plagued by numerous

problems and safety concerns.

                                      THE DPS6 DEFECTS

   78. The DPS6 is defective because it suffers from the following safety-related mechanical and

electronic failures, which arose following the initial launch of the transmission in late 2010 (for the

2011 MY Fiesta) and continued throughout the next six-years: Wet Clutch” Shudder Attributed to

Leaking Input Shaft Seals, Mechatronic Actuation Module (MAM) Failures, “Dry” Clutch Shudder,

Software Calibration Issues.

   79. These Transmission Defects, individually or collectively, caused the following “symptoms” in

the DPS6’s performance: constant gear slipping, bucking, kicking, jerking, harsh engagement,

premature internal wear, sudden acceleration, delayed downshifts, delayed acceleration, difficulty

stopping the vehicle, and, eventually, premature transmission failures.

                                                  15
       Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 16 of 63 PAGEID #: 16




       80. Such Transmission Defects that cause passenger vehicles to jerk, buck, suddenly lurch

forward, delay acceleration, delay deceleration, and/or suddenly lose forward propulsion present a

safety hazard – particularly when they occur without warning – because they severely compromise the

driver’s ability to control the car’s speed, position, acceleration (including from a stop), and

deceleration.

       81. For example, these conditions make it difficult to safely merge into traffic. Even more

troubling, the Transmission Defects can cause the Vehicle to fail to downshift and decelerate, but

instead continue to transfer power to the transmission and even surge the engine’s RPMs, even when

the brakes are depressed. As a result, drivers of vehicles equipped with the DPS6 have reported their

vehicles lurching forward into intersections and at red lights, despite applying their brakes to stop the

car.

       82. The Transmission Defects also cause premature wear to the DPS6’s clutch plates and other

internal components, which results in premature transmission failure and requires expensive repairs,

including premature clutch, TCM and transmission replacement.

       83. Almost immediately after it began selling DPS6-equipped vehicles, Ford began receiving

complaints and other information that the DPS6 Transmission was not working properly or “as

advertised.” For example, in a 2011 New York Times review of the Ford Focus, the reviewer stated

that “Ford programmed the PowerShift Dual-clutch transmission to change gears in odd and

infuriating ways” and that “[t]he transmission is often in the wrong gear at the wrong time, resulting

in jerks, pauses and lethargic acceleration.”

       84. In response to these criticisms, Greg Burgess, an engineer at Ford, conceded in the same New

York Times article that “[i]t is quite a challenge to deliver something that is very, very fuel efficient

and yet feels like a conventional automatic, and there are some balances and some trade-offs that we

make.”

                                                   16
   Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 17 of 63 PAGEID #: 17




    85. In response to complaints about the Transmission Defects, in 2010 and 2011, Ford issued

multiple Technical Service Bulletins (“TSBs”) to its dealers and authorized repair facilities

acknowledging defects in the DPS6. Ford’s TSB from September 2010, covering the 2011 Ford Fiesta,

informed dealers and service personnel of “concerns such as no engagement or intermittent no

engagement in Drive or Reverse when shifting from Park to Drive or Reverse, grinding noise during

engagement, and/or check engine light with transmission control module (CM) diagnostic trouble

code…”

    86. Similarly, Ford’s TSB released on January 1, 2011, covering the 2011 Ford Fiesta with the

DPS6 Transmission, informs dealers and service personnel of problems with the DPS6 Transmission

causing “a loss of power, hesitation, surge, or lack of throttle response while driving.”

    87. Ford’s TSB from March 31, 2011 also covering the 2011 Ford Fiesta, informs dealers of

problems where the DPS6 Transmission “exhibit[s] a rattle/grind noise in reverse only.”

    88. Ford issued two separate TSBs in May 2011, both covering the Ford Fiesta. These TSBs

addressed problems with the DPS6 including “concerns in Drive or Reverse when shifting from Park

to Drive or reverse, no engagement, delayed engagement, intermittent engagement, noise during

engagement…”

    89. Another Ford TSB released in September 2011 advised dealers to reprogram the transmission

computer if 2011 Ford Fiesta owners complained about “hesitation when accelerating from a low

speed after coast down, harsh or late 1-2 upshift, harsh shifting during low-speed tip-in or tip-out

maneuvers and/or engine r. p.m. flare when coasting to a stop.”

    90. The 2012 Ford Focus was the subject of a September 2011 Ford TSB, which informed dealers

and service personnel of transmission problems including: “RPM flare on deceleration coming to a

stop, rough idle on deceleration coming to a stop, intermittent engine idle fluctuations at a stop,

intermittent vehicle speed control inoperative, intermittent harsh engagement/shift…”

                                                   17
    Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 18 of 63 PAGEID #: 18




    91. In May of 2012, Ford issued a “Customer Satisfaction Program: Program Number 12B37.” In

a letter sent to 2012 Ford Focus drivers, Ford indicated that drivers “may experience rough or jerky

automatic transmission shifts. In addition, the vehicle may experience roll back when the driver is

transitioning from the brake pedal to the accelerator pedal while on a slight incline.” Ford, however,

did not issue a recall and did not warn drivers of the safety risks associated with these known problems

–even though, as alleged below, Ford was obligated to so do.

    FORD KNEW ITS DPS6 POWERSHIFT TRANSMISSION WAS DEFECTIVE AND
        UNSAFE EVEN BEFORE IT SOLD THE VEHICLE TO PLAINTIFF

    92. Prior to the DPS6’s introduction into the marketplace, Ford determined that a component

failure that led to an “unintended neutral” – i.e., a loss of motive power – was assessed as the highest

severity risk factor on its Failure Mode and Effects Analysis (FMEA).

    93. Ford made this FMEA determination by employing a standard risk-assessment technique to

determine the myriad ways this dual dry-clutch transmission might fail, the likelihood of such failures,

and the severity of the consequences.

    94. The FMEA process, which Ford itself helped pioneer, ranks the severity of component failures

on a ten- point scale, with the high end of the scale denoting the most severe failures. 2

    95. Specifically, a rank of “10” means a failure mode that is “hazardous without warning,”

described as “very high severity ranking when a potential Failure Mode affects safe vehicle operation

and/or involves noncompliance with government regulation without warning.” 3

    96. A rank of “9” means a mode that is “hazardous with warning,” also described as “very high

severity ranking when a potential high failure mode affects safe vehicle operation and/or or involves

noncompliance with government regulation with warning.” 4


2 Failure Modes and Effects Analysis, Ford FMEA Handbook, version 4.2; pg. 1-4, 3-33; December 2011
3 VGS 20346048, Severity 10 TCU Connector Not Error Proofed; Greg Goodall; October 3, 2008.
4 VGS 20346048, Severity 10 TCU Connector Not Error Proofed; Greg Goodall; October 3, 2008.


                                                   18
    Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 19 of 63 PAGEID #: 19




    97. Failure modes with high severity ranks must be designed out of the product, or have robust

countermeasures designed into the product, or (if, despite the former two, they occur in the field) lead

to a recall.

    98. Ford and Getrag engineers identified a number of failure modes in the DPS6 that could result

in “Unintended Neutral Events” – meaning the transmission would disengage the gears and slip into

the neutral position, even though the driver had selected a drive gear and the gear shift lever remained

in the driver selected position, and regardless of the vehicle’s speed. Such Unintended Neutral Events

resulted in the vehicle losing drive/motive power from the engine, which poses a safety hazard for a

number of reasons, including, inter alia, the risk of collision; the driver’s inability to drive the vehicle

out of dangerous traffic; and the risk to occupants when stranded in high speed road conditions.

Moreover, government regulations require transmissions to provide engine braking during

deceleration, which is nonexistent during an Unintended Neutral Event.

    99. During 2007 and 2008, Ford and Getrag argued as to how such an unintended neutral event

should be rated/classified as a safety issue. In these arguments, Ford corporate officials, including

Ford’s Office of the General Counsel (OGC), argued that a failure mode that led to an unintended

neutral event should be ranked as the highest or most severe safety type of safety problem, referred

to as a Severity Level 10 (“SEV 10”).

    100.        On February 20, 2008, Mr. Kirchhoffer and Joe Wickenheiser (a Ford “Small Car

External Investigations and TREAD Reporting Manager”) shared an Audi recall involving a

“competitive Electro-hydraulic clutch actuator” in which a small number of 2004 Audi TT models

had a safety defect that could lead to degraded clutch performance: “The clutch could lose its ability

to provide torque to the transmission without a prior warning, which could allow the vehicle to roll,




                                                    19
    Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 20 of 63 PAGEID #: 20




increasing the risk of a crash.” 5 Mr. Kirchhoffer noted in response: “This info is very helpful with

respect to ‘Unintended Neutral.’ This is exactly the same event we are trying to avoid occurring to the

customer. As a benchmark to be cascaded to the team – very helpful. It reinforced the effort to keep

SEV=10 and drive the detection on manufacturing to level =1 to avoid this happening – much

appreciated.” 6

    101.          Further, Dave Garrett, a Ford Campaign Prevention Specialist, opined to the

Ford/Getrag team that “[i]n practice, I urge engineers to increase the FMEA severity to 10, for any

failure mode that has caused a previous Safety or Emission related recall.” 7

    102.          As detailed, infra, Ford has issued safety recalls on other vehicle models for failure

modes that caused a stall or loss of motive power event, including in circumstances when the driver

was forewarned.

    103.          Despite the stated concerns of its Office of General Counsel, Vehicle Safety Office,

and Quality Technical Specialists, Ford’s “senior management team” chose to adopt Getrag’s position

and ultimately rated the Unintended Neutral failure mode as merely a SEV “8.”

    104.          For example, on September 25, 2008, Mr. Kirchhoffer wrote an internal email to

Ford’s DPS6 team entitled, “Unintended Neutral Severity Rating: Clear Direction,” in which he

explained that “[p]er direction from our senior management team please be advised that: 1) The

Unintended Neutral Event shall be renamed to ‘Loss of Drive’; 2) The SEV Classification is confirmed

to SEV = 8….”

    AFTER BEGINNING TO SELL DPS6-EQUIPPED VEHICLES, FORD RECEIVED
    ADDITIONAL INFORMATION THAT THE TRANSMISSION DEFECTS WERE
        DANGEROUS, REPORTEDLY CAUSING ACCIDENTS & INJURIES



5 VGS20386981; RE:Audi VOQ.xls; Johann Kirchoffer; Ford Motor Company; February 20, 2008.
6 VGS20386981; RE:Audi VOQ.xls; Johann Kirchoffer; Ford Motor Company; February 20, 2008.
7 VGS7-0058850; Ford Severity Classification; David Garrett; Ford Motor Company; June 15, 2007.


                                                   20
      Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 21 of 63 PAGEID #: 21




      105.        The unintended neutral failure events plagued the DPS6-equipped vehicles, and these

safety defects continue to this day. For example, on February 22, 2011 (after the launch of the Fiesta

and in preparation for the launch of the Focus), DPS6 Transmission Systems Engineer, Tom Hamm,

wrote an email to Ford engineers David Lempke and Piero Aversa regarding the upcoming 2012 Focus

vehicle. Mr. Hamm stated, “Please tell me we are not going to launch this vehicle with the same issue

we have on the Feista [sic]?”

      106.         Customers consistently reported that the transmission lost power at inopportune

times, leaving drivers unable to maneuver in traffic or startling other drivers, leading to crashes, near

crashes.

      107.        On September 20, 2011, Charles Baldree (a Ford sales manager for 30 years) contacted

Mr. Lempke to share his own experiences in which a DPS6 transmission simply stopped working in

third gear – a dangerous condition in certain driving scenarios:

              Just thought I would provide some feedback, and find out when the new TSB
              will be out. I am still having problems with my transmission (shuttering,
              hesitating, whining noise, etc) but this week a couple of new ones surfaced. I
              experienced it twice. Both time I think the car was probably in about third gear
              when the transmission seemed to go in “free fall.[sic] It simply stopped working.
              After a few seconds, the transmission kicked back in with a loud thump and
              shutter. The loss of power could have been serious in on-coming traffic. The
              original TSB helped with the shift points, but I am really hoping the second TSB
              will fix the remaining problems. I was looking at all the posts on Focus Fanatics
              and believe me there are many, many 2012 Focus owners who are up in arms
              over the Getrag transmission. I think if Ford doesn’t do something quick there
              will be a revolt. Owners are so mad they are bad mouthing the product something
              furious. Also, some of them think there is a serious safety issue with the
              transmission and plan to contact the appropriate government authority to
              demand a recall. Other owners are asking for the Company to provide an
              extended warranty on the transmission. 8

      108.        Ford was well aware that it was likely that failures, complaints, crashes causing property

damage and injuries were likely to continue.


8   VGS20044739; Subject: 2012 Focus Transmission Issues; Charles Baldree; 2011.

                                                     21
    Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 22 of 63 PAGEID #: 22




    109.        The DPS6 transmission suffers from multiple safety-related mechanical and electronic

failures that emerged from the initial launch of the transmission in late 2010 (for the 2011 MY Fiesta)

and continuing over a six-year period due to the Transmission Defects referenced supra. According to

Ford’s internal documentation, these Transmission Defects include:

            Because of a mismatched coefficient thermal expansion between the printed
            circuit board and the ATIC chips, over time, thermal cycling and mechanical
            strain will produce solder cracks on multiple ATIC91 ATC106 pins. 9 This leads
            to a loss of communication and an unintended neutral. Ford first learned of this
            issue in January 2010, when vibration and rapid change of temperature testing
            found pin failures and suspected solder failures: “Parts are being prepared for in
            depth solder joint investigation.” 10

            Software Calibration Issues. “Another issue that surfaced in 2016 was Ford’s
            decision to release a software calibration that allowed power loads to the clutch
            that could result over time in the failure of either the friction plate or the pressure
            plates. Notably, software calibration issues have plagued the DPS6 Transmission
            since before its launch.

            Delayed Crank Failure. In 2016, Ford identified a delayed crank failure defect
            with the DPS6 that was due to the “clutch actuator lever component inside the
            transmission.” 11

    110.         As a result of one or more of these defects, acting either individually or in

combination, the transmissions in Ford DPS6-equipped vehicles consistently slip, buck, kick, jerk,

harshly engage; and have premature internal wear, sudden acceleration, delay in downshifts, delayed

acceleration, create difficulties in stopping the vehicle, and, eventually, premature transmission failure.

    111.        The Transmission Defects cause unsafe conditions, including, but not limited to

suddenly lurching forward, delayed acceleration, and sudden loss of forward propulsion (i.e., the



9 VGS5-00365439; Re: Request for Confidential Treatment of Information Pertaining to a Recent WebEx

Presentation, November 19, 2017.
10 VGS7-0076353; GETRAG Summary for January 29,2010 Conti meeting: handout for today’s 6DCT250

meeting; Ibrahim Kaddouh; Ford Motor Company; January 29, 2010.
11 Ford DPS6-SAC 00045387; RE: QSF do Fiesta – info; Colin Menapace; Ford Motor Company; November

29, 2016.

                                                    22
    Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 23 of 63 PAGEID #: 23




“unintended neutral events” referenced above). These conditions present a safety hazard because they

severely affect the driver’s ability to control the vehicle’s speed, acceleration, and deceleration. For

example, these conditions make it difficult to safely merge into traffic. Even more troubling, the

Transmission Defects can cause the vehicle to fail to downshift and decelerate, but instead continue

to transfer power to the transmission and even surge the engine’s RPMs, when the brakes are

depressed. As a result, drivers of DPS6-equipped vehicles have reported their vehicles lurching

forward into intersections at red lights due to the failure of their braking efforts to stop the vehicle.

    112.         Plaintiff is informed and believes, and on that basis alleges, the Transmission Defects

also cause premature wear to the PowerShift Transmission’s clutch plates and other components,

which results in premature transmission failure and requires expensive repairs, including premature

transmission replacement.

    113.         As early as 2010, Ford knew or should have known that the PowerShift Transmission

was defective.

   DESPITE KNOWING THAT THE DPS6 POWERSHIFT TRANSMISSION HAD
   SAFETY DEFECTS, FORD FALSELY AND PUBLICLY REPRESENTED – TO
  PLAINTIFF, CONSUMERS, AND GOVERNMENT REGULATORS – THAT THE
  PROBLEMS WITH THE DPS6 TRANSMISSION WERE NOT SAFETY-RELATED

    114.         In its official communications with national agencies charged with consumer

protection or safety, Ford characterized the DPS6’s myriad defects as customer satisfaction or

transmission quality issues and denied that they had caused any (or only a few) crashes.

    115.         In a November 2014 presentation to the NHTSA, Ford purported to address the

solder cracks on the ATIC chips in the MAM, transmission shift quality, rollback, the shudder problem

and the leaking input shaft seals problems detailed above. But in this presentation, Ford did not

mention any threats to safety, nor did Ford include information about crashes and injuries that were




                                                    23
   Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 24 of 63 PAGEID #: 24




alleged to have been caused by the loss of motive power and other transmission defects. 12

    116.        Ford acknowledged internally that as of May 31, 2015, it had received 33,408 warranty

reports alleging “loss of motive power” & “no starts” on vehicles with DPS6 transmissions identified

in warranty analysis in all regions based on the MAM communications concerns detailed above.” 13

    117.        In March 2016, Ford (via its wholly owned subsidiary Ford of Australia) made a similar

presentation to the Australian Competition and Consumer Commission (ACCC) about the complaints

regarding the DPS6 by enumerating its actions to repair vehicles via a Technical Service Bulletin. A

month earlier, the Australian Department of Infrastructure and Regional Development, which assists

the ACCC on matters of vehicle safety, initiated an investigation based on “several complaints over

the past four years relating to 2010- 2014 Ford Focus and Ford Fiesta transmissions. “The Department

considers reports of safety issues of non-compliant standards, and where a potentially systemic issue

is identified, the Department may investigate further.” The DIRD sent seven complaints and asked

Ford if it had received similar complaints and asked, “Is Ford aware of any reported safety incidents

attributed to the dual clutch transmissions in Focus or Fiestas?” 14

    118.        In January 2017, Ford made yet another similar presentation to the Thailand Office of

the Consumer Protection Board, detailing the wet and dry shudder issues. It did not mention the

solder cracks in the MAM. Again, Ford asserted:

            The quality issues do not pose safety concerns • Wet and dry clutch shudder
            affects drive quality only. Ford’s Automotive Safety Office (ASO) met with the
            US National Highway Traffic Safety Administration (NHTSA) to review the
            PowerShift quality issues and share field data. NHTSA reviewed the data, asked
            for additional data, and has not identified a safety defect. Ford Thailand has not
            received any reports of injuries relating to the PowerShift transmission quality


12 VGS5-00365439; Re: Request for Confidential Treatment of Information Pertaining to a Recent WebEx

Presentation, November 19, 2017.
13VGS7-0179114; Field Review Committee Fact Sheet Draft; undated.
14 Ford-DPS6-SAC- 00021948; Ford Focus and Fiesta Transmission Complaints [SEC=UNCLASSIFIED];

Caitlin Arnold; Department of Infrastructure and Regional Development.

                                                   24
     Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 25 of 63 PAGEID #: 25




            concerns. Ford ASO has continued to monitor field data and has not identified
            a safety issue. 15

     119.        In press statements, Ford continued to assert that the DPS6’s multiple defects did not

threaten safety, nor did they cause crashes.

     120.        For example, in a statement intended for the European press about the leaking input

shaft seals, Ford stated: “Is this a safety issue for customers? No. Our team has investigated every

report. After an exhaustive engineering evaluation, we have identified the concern as a shift-quality

issue, and not safety related.” 16

     121.        In a statement intended for the Chinese press Ford similarly stated: “Is his a safety

issue? Have you received any reports of injuries or accidents related to this issue? [PD] No.” 17

     122.        Contrary to these definitive public statements, in private/internal corporate

communications Ford officials described the MAM failures as longstanding safety hazards and

acknowledged that the cracks in the solder joints, along with the dry shudder and leaking input shaft

seals defects were linked to crashes, injuries and one death.

     123.        In May 2011, a 2011 Fiesta was brought into service for a condition in which the

vehicle went forward while in reverse gear. An email exchange between Ford engineers David Lemke

and Tom Hamm noted: “Tom…make the call down there ASAP.. find out more details.. Ford Safety

Office wants to get involved.” 18 And in another email related to this vehicle Hamm asks a colleague

to prevent the dealer from swapping out the vehicle’s transmission before they can take a closer look:

“I wouldn’t be asking if it wasn’t a safety issue.” 19

     124.        In August 2012, Ford officials prepared a “white paper” to outline the problem: “Ford


15 Ford-DPS6-SAC 0012328; Meeting with OPCB; Ford Motor Company; January 20, 2017.
16 VGS5-00324037; DPS6 Quality Issue - European Perspective; Ford Motor Company.
17 VGS7-0130891; Questions to be answered; Ford Motor Company.
18 VGS20039682; FW: Report Summary for the CQIS Report#BEFAK003; David Lempke; May 9, 2011.
19 VGS20039744; RE: Vehicle located at Hampstead, N.Y. Tom Hamm; May 10, 2011.


                                                     25
     Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 26 of 63 PAGEID #: 26




vehicles equipped with DPS6 transmission may experience a loss of motive power due to an issue

with the DPS6 MAM. Approximately 2.1M global vehicles have been produced with potential for this

concern. A Permanent Corrective Action (PCA) has been identified and will be in production by

March 2015. Purchasing is working with the MAM supplier to increase production capacity for

additional service parts supply.” 20

     125.          In an August 13, 2012 internal email exchange regarding the DPS6 MAM among Ford

transmission engineers, Jay Richardson of Ford’s “6F15/DPS6/MPS6/FN Transmission Planning

Powertrain Strategy & Business Office” noted: “This being said, Roger has passed on that this is a

Safety issue. If that is true, then this is a must do regardless of business case. The paper needs to clearly

point out this issue.” 21

     126.          In 2013 (contrary to Mr. Kwasniewicz’s later assertion), Ford and Getrag engineers

were able to witness first-hand DPS6 safety concerns, such as the “slingshot” behavior:

             John and I were at a dealer last week and invited the Getrag team to come along-
             to get some real world feel of tech issues - unfortunately the guy didn’t have bring
             equipment with him - we drove a vehicle that had a sling shot affect during slight
             power on down shifts what do you do for that one??? tell customer its normal and
             they wasted their time bringing it in, perform the IDS routines and adaptive drive
             and see if that helps or slap a TCM or a clutch into it - or both. These are the
             situations we need deeper diagnostics. 22
     127.          In January 2014, Ford issued a “White Alert,” defined as a “report of possible safety

or regulatory concern,” for a customer concern described as “an engine stall while driving, hard to

start.” 23

     128.          In a March 26, 2014 internal email exchange that included Gunnar Hermann, Ford of



20 VGS7-0059304 Overt Detection and Early Warning of DPS6 Mechatronic Actuation Module (MAM)

Issue. Ford Motor Company; 2014.
21 VGS20149430; DPS6 NG MAM Paper; Jay Richardson; Ford Motor Company; August 13, 2012.
22 RE: AVL Data from Ford Fiesta/Focus; Jeremiah Cannon; Ford Motor Company; April 4, 2013.
23 VGS20207472; RE: Israel White Alert for Stall; Mark Thompson; Ford Motor Company; January 22, 2014.


                                                     26
     Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 27 of 63 PAGEID #: 27




Europe’s vice president for quality and Mr. Kwasniewicz, Ford employees admitted that the stalling

reports were safety concerns: “Ted, Scott during my visit here in Israel, I was confronted with 4 cases,

where stall conditions occurred while driving. This is clearly a safety related issue. Can you share your

workplans please, need to understand how far we are away from a solution. I would appreciate your

feedback.” 24

     129.         In January 2015, an engineer discussing a Field Service Action related to the MAM

defect noted that solder cracks on ACT 91 were a safety hazard: “Not sure 106 DTC’s should be

included as they don’t have the safety issue the 91 does ... as they maintain ASM 3 speed. 25

     130.         Over a two-year period from September 2014 to August 2016, Ford engineers opened

three 14D investigations – one into the MAM/ATIC chip failures, one into the leaking input shaft

seal problem and one into the dry shudder problem. A 14D is often a precursor to a recall. According

to Ford’s FMEA Handbook:

            Before an automotive manufacturer engages in a campaign, there has been
            thorough investigation and analysis of the issue. Often this analysis begins with a
            Global 8D where the root cause which generated the in field defect to occur is
            determined. Additionally, the “escape” root cause is determined. In other words,
            how did the product testing miss this defect? Corrective actions are targeted at both
            items and implemented as part of the correction to the vehicles in question. When
            an issue is raised to a recall, the Global 8D will have additional information added,
            and it will become a 14D. Both of these investigations characterized the problems
            as design defects and noted crashes and injuries associated with these defects. 26
     131.         On or about September 2014, Ford engineers initiated a 14D to analyze the leaking

input shaft seal problem and noted: “Ford Transmission Driveline Engineering (TDE) has sealing

system design rules that apply to internal designs.

     132.         As noted, supra, Ford did not share with various governmental agencies the extent of



24 Subject: AW: Israel White Alert for Stall; Gunnar Hermann; Ford Motor Company; March 26, 2014.
25 VSG7-0163883 RE FSA; Jerimiah Cannon; Ford Motor Company; January 14, 2015.
26 FMEA Handbook; Version 4.2; Pg Glossary-2; Ford Motor Company 2011.


                                                     27
     Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 28 of 63 PAGEID #: 28




its knowledge of the various defects, nor of the crashes and injuries associated with them. Indeed, the

NHTSA review into the DPS6 transmission defects never led to an actual defect investigation because

Ford never disclosed the full details about the safety issues.

     133.       As a result, Ford was successful in avoiding both a rapid decline in sales and safety

recalls by hiding the DPS6 safety defects from consumers and regulators.

     134.       Rather than issue safety recalls for a problem Ford could not “fix,” Ford instead

launched four different “Special Customer Service Campaigns” from 2011 to 2016, which merely

extended the warranty duration for Focus and Fiesta vehicles plagued by leaking input shaft seals and

the MAM solder cracks. 27 In addition, Ford issued no fewer than 17 Technical Service Bulletins (TSBs)

from 2010 to 2016 outlining Ford-recommended repair procedures for a litany of DPS6 Transmission

problems.

     135.       In July 2017, the Australian Competition and Consumer Commission initiated

proceedings against Ford, “alleging that it engaged in unconscionable and misleading or deceptive

conduct, and made false or misleading representations in its response to customer complaints.”

Specifically, the ACCC alleged that Ford consistently “lied to its customers about the nature of the

defect – blaming it on their driving styles, rather than the transmission. About 35,000 vehicles sold in

Australia had at least one repair relating to the DPS6 transmission, yet Ford refused to provide a

refund or replacement vehicle to consumers, even after multiple repairs did not fix the issues. In most

cases, Ford only provided replacement vehicles in accordance with its “PowerShift Ownership Loyalty

Program,” which required consumers to make a significant payment [$7,000] towards a replacement




27Customer Satisfaction Program 11B31, Ford Motor Company, January 13 2012; Customer Satisfaction
Program 14M01; Ford Motor Company; July 21, 2014; Customer Satisfaction Program 14M02; Ford Motor
Company; February 20, 2015; Customer Satisfaction Program 15B22; Ford Motor Company; August 4, 2015.

                                                   28
     Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 29 of 63 PAGEID #: 29




vehicle.” 28

     136.       In April 2018, Australia’s Federal Court ordered Ford to pay a (AUS $10 million fine

for “unconscionable conduct.” In addition, Ford had to establish a program to review customer

requests for refunds or replacement vehicles made between May 1, 2015 and November 1, 2016, and

to provide customers with access to more information about their cars, including the history of

manufacturing defect repairs performed on their vehicles. 29

     137.       In 2018, Ford was forced in a civil trial in Thailand to compensate 291 Focus and

Fiesta owners for selling substandard vehicles. In the country’s first verdict in a class-action ruling, the

South Bangkok Civil Court ordered Ford Sales & Service to pay between 20,000 and 200,000 baht

each, plus a 7.5% interest rate a year, for repair costs and lost time. “The award was for the production

of unsafe, substandard and defective vehicles which put drivers at risk.” 30

     FORD FAILED TO COMPLY WITH ITS REGULATORY OBLIGATIONS AND
                     REPORTING RESPONSIBILITIES

     138.       As a global automaker, Ford is aware of its safety recall obligations under controlling

U.S. law; and has issued safety recalls for vehicles with defects that cause unintended stalls.

     139.       This controlling U.S. law includes, but is not limited to, Title 49, section 573 of the

Code of Federal Regulations, entitled, “Defect and Noncompliance Responsibility and Reports,” sets

forth the obligations and responsibilities of motor vehicle manufacturers such as Ford under 49 U.S.C.

§§ 30116-30121 (a portion of the National Traffic and Motor Vehicle Safety Act) regarding safety-

related defects and noncompliance with Federal Motor Vehicle Safety Standards (FMVSS). 31 Among


28 ACCC takes action against Ford; press release; Australian Competition & Consumer Commission; July 27,
2017.
29 Court orders Ford to pay $10 million penalty for unconscionable conduct; press release; Australian

Competition & Consumer Commission; April 26, 2018.
30 Ford Thailand Ordered to Compensate Focus and Fiesta Owners for Selling Substandard Vehicles; Chiang

Raj Times; September 22, 2018.
31 49 CFR § 573.


                                                    29
     Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 30 of 63 PAGEID #: 30




those obligations are reporting requirements to the National Highway Traffic Safety Administration

(“NHTSA”) to inform the agency of defective and noncomplying vehicles and equipment, and to

allow NHTSA to assess the adequacy of manufacturers’ defect and noncompliance notification

campaigns, of the corrective action, the owner response, and to compare the defect incidence rate

among different groups of vehicles. 32 Manufacturers are required to furnish a report to NHTSA “for

each defect in his vehicles or items of original or replacement equipment that be or the Administrator

determines to be related to motor vehicle safety, and for each noncompliance with a motor vehicle

safety standard in such vehicles or items of equipment which either be or the Administrator

determines to exist.” 33

     140.         Further, under the Motor Vehicle Safety Act, 49 U.S.C. 30101, “motor vehicle safety”

is defined in relation to NHTSA’s enforcement and regulatory authority as the “the performance of a

motor vehicle or motor vehicle equipment in a way that protects the public against unreasonable risk

of accidents occurring because of the design, construction, or performance of a motor vehicle, and

against unreasonable risk of death or injury in an accident, and includes nonoperational safety of a

motor vehicle.” 34 This regulation sets a “5 working day” deadline for a manufacturer to make such

notification:

            Each report shall be submitted not more than 5 working days after a defect in a
            vehicle or item of equipment has been determined to be safety related, or a
            noncompliance with a motor vehicle safety standard has been determined to exist. 35
     141.         Ford violated this reporting requirement by failing to report the safety-related defects,

accidents, incidents and other matters alleged above to NHTSA within the mandatory five working

day period.


32 49 CFR § 573.2.
33 49 CFR § 573.6.
34 49 USC § 30102(a)(9).
35 49 CFR § 573.6.


                                                     30
     Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 31 of 63 PAGEID #: 31




     142.         Moreover, Ford consciously avoided a recall of the DPS6 transmission by claiming to

several governmental authorities around the globe, including NHTSA, that the DPS6 transmission’s

multiple malfunctions only amounted to “customer satisfaction issues” and had not been linked to

crashes, injuries and fatalities.

     143.         Ford understood its obligations under federal regulations to report these safety defects

to the NHTSA, but rather than comply with federal law, Ford instead created a false narrative to

NHTSA to forego a safety recall by focusing on improving the warning to customers before an

impending transmission failure.

     144.         Ford has two divisions devoted to ensuring that its products meet all Federal Motor

Vehicle Safety Standards and regulatory responsibilities – the Automotive Safety Office (ASO) and

the Office of the General Counsel (OGC). According to Ford: “The Automotive Safety Office Serves

as primary interface with organizations that deal with vehicle safety and defect/compliance matters

and contributes technical advice to government agencies regarding safety rulemaking. We also provide

technical analysis related to field performance of Ford vehicles.” 36 In addition, Ford’s Office of

General Counsel “interfaces with regulatory agencies, including EPA, NHTSA, EEOC and state

attorneys general.” 37 Further, in Ford’s 2014 Corporate Sustainability Report, Ford demonstrates its

knowledge of its obligations under the Safety Act:

            In the U.S., the National Traffic and Motor Vehicle Safety Act of 1966 (the “Safety
            Act”) regulates vehicles and vehicle equipment in two primary ways. First, the
            Safety Act prohibits the sale in the United States of any new vehicle or equipment
            that does not conform to applicable vehicle safety standards established by the
            National Highway Traffic Safety Administration (NHTSA). Second, the Safety Act
            requires that defects related to motor vehicle safety be remedied through safety
            recall campaigns.


36 Ford Automotive Safety Office;
https://corporate.ford.com/careers/departments/sustainability-environment-and- safety-engineering.html.
37 Ford Office of the General Counsel;

https://corporate.ford.com/careers/departments/office-of-the-general- counsel.html.

                                                    31
     Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 32 of 63 PAGEID #: 32




            Manufacturers are obligated to recall vehicles if they determine the vehicles do not
            comply with a safety standard or contain a defect affecting safety. 38
     145.         Further, Ford’s internal process documents remind employees of these obligations.

For example, in July 2013, Ford employees Joseph Borneo and Robin Buseck requested that Ford’s

6-Sigma Center initiate a “Things Gone Wrong” (“TGW”) Task Force to conduct a consumer survey

on the problems with the Focus and Fiesta DPS6 to determine how drivers experienced the

transmission defect. 39 As part of this process, the form used to make the request emphasized that the

Ford Automotive Safety Office or the Office of General Counsel may ask for the results to satisfy a

NHTSA inquiry. It also noted that any Transportation Recall Enhancement, Accountability and

Documentation (TREAD) Act-reportable information obtained by the survey must be included in

Ford’s quarterly TREAD submission.

     146.         This knowledge is evident in Ford’s internal communications regarding the defects in

the DPS6 transmission, in which Ford employees discuss scenarios that could prompt a recall, and

ways to avoid triggering a TREAD reportable incident or the attention of the regulators.

     147.         For example, in January 2009, Ford engineers exchanged information indicating that

Ford was aware that other manufacturers had launched recalls for defects like those that could affect

the DPS6 transmission. In a January 21, 2009 email, Mr. Kirchhoffer shared a Daimler Trucks recall

of 2,426 Thomas Built Buses, in which the automatic transmission control module could become

corroded due to water and road spray intrusion, causing the starter motor to engage unexpectedly or

the backup lights to operate intermittently. 40

     148.         Mr. Kirchhoffer reminded his colleagues how severity levels assigned on the FMEA




38 2014-15 Ford Sustainability Report.
39 VGS20130916; 6-Sigma Center Survey Request Form; Ford Motor Company; July 18, 2013.
40 VGS5-00021665; RE: MAM - Interface FMEA Summary+ SEV Reduction Process (YC Reduction

Process) - Reclassified for ‘Loss of Drive’; Johann Kirchhoffer; Ford Motor Company; January 21, 2009.

                                                    32
    Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 33 of 63 PAGEID #: 33




related to field actions later:

           From the Campaign Prevention team and connecting to the CP DD2 I would like
           to share with you the attached information about a campaign/field service Action,
           concerning a TCU exposed to splash water and corrosion similar to the MAM on
           the DPS6. The Failure Modes affecting the Back Up Light and Cranking leading to
           ‘Unexpected Vehicle Movement’ or Traffic Irritation are affected. This is effecting
           item 2.1.2) - Back Up Light Function - from the Electrical FMEA and item 2.4)
           concerning the Mechanical FMEA, failure modes leading to the back up light
           electrical malfunction. This an additional awareness item with respect to the YC
           classifications isolated under items 2.1.2 and 2.4! 41
    149.           Ford employees also discussed how to go about repairing vehicles with DPS6

Transmission Defects using protocols that would not violate the TREAD Act. Thus, Ford

demonstrated its knowledge that customer complaints and warranty claims are reportable events.

    150.           In an internal September 6, 2016 email string, Craig Renneker, the Ford Chief

Engineer for Front-wheel-drive A/T & D/l Systems Transmission & Driveline Engineering,

discussed fixing the clutch in a DPS6 transmission of a Detroit school teacher who had complained

about the problems with his new Focus to a former Ford employee, now a reporter with Crain

Communications. Renneker warned that the company protocol must be followed to avoid a TREAD

Act violation: “Yes - this is a concern (TREAD Act), which is why we need to follow the FCSD “VIP

Ticket” process. Please call Paul S. directly to coordinate. 42

    151.           In another Ford internal email string dated May 24, 2017, Mr. Renneker discussed

fixing a DPS6 clutch for a customer out of warranty: 43

           Mike;
           She has an 8080 clutch installed at 80k miles. Replacing hers with an 8040 will give
           us a “picky customer” data point to check the efficacy of the new material. Are you

41 VGS5-00021665; RE: MAM - Interface FMEA Summary+ SEV Reduction Process (YC Reduction

Process) - Reclassified for ‘Loss of Drive’; Johann Kirchhoffer; Ford Motor Company; January 21, 2009.
42 Ford DPS6-SAC 00038320; RE: Hey, Bob ... (Rich Truett email on 2015 DPS6 Focus); Craig Renneker;

Ford Motor Company; September 6, 2016.
43 Ford-DPS6-SAC 00054061; Subject: RE: Replacing transmission on out-of-warranty vehicle for

engineering feedback; Craig Renneker; Ford Motor Company; May 24, 2017.

                                                    33
     Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 34 of 63 PAGEID #: 34




            saying that the 8080 clutch replaced under the FSA itself has a 2 year/24 month
            warranty that would cover the full cost (parts and labor) to give her a new 8040?
            She is specifically complaining about the judder, but believes that there is nothing
            else the dealer can do. If the warranty does NOT cover her, do we have an
            approved procedure for an engineering investigation to replace her clutch/trans
            with engineering$? I’m mindful of TREAD act.
            Guys;
            Thanks. Please don’t pull the trigger on this yet. I’ve had 5 notes back/forth
            between me and the FCSD Director. I want to take care of this, but need to do it
            EXACTLY the right way. I hope to be able to give clear direction yet today. They
            have another funding mechanism that may be a better path as this has senior
            executive attention.

     152.           In at least one instance, Ford engineers actively discussed how to avoid triggering

government attention that might lead to a recall. In a Ford internal email string dated March 4, 2013,

Ford engineers discussed yet another emerging defect issue involving the DPS6’s transmission in

which the shift drums failed to achieve proper referencing:

            On every start-up the shift drums will move to the end stop and confirm position.
            This is done for safety reasons as the control system needs to know the exact
            position of the synchros to prevent an unintended movement. The failure to
            achieve proper reference is usually caused by low system voltage during crank (low
            voltage can either inhibit the driving force of the shift drum), it could also indicate
            a motor problem or a mechanical blockage…As a result of the continuous
            learnings, there have been multiple changes to fine tune the referencing sequence
            to stagger the shift drum movement so that the system voltage has recovered from
            the engine start. Whenever the transmission fails to achieve the reference position
            it sets an internal code (P2832 or P2837) and temporarily disables the gears which
            did not reference correctly. 44
     153.           In response, Ford DPS6 Transmission Manager, Christopher Kwasniewicz, noted

that Ford was about to release a TSB for transmission shudder, which would require a software re-

flash the calibration, even though it might set error codes that would send the customer back to the

dealer. This situation was preferable to dealership techs replacing clutches, which was costing Ford $3



 VGS20020225; RE: P2832 & P2837 Back Ground Info On Shift Drum Reference; Piero Aversa; Ford
44

Motor Company; March 2, 2013.

                                                      34
     Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 35 of 63 PAGEID #: 35




million a month in warranty costs. 45

     154.         Indeed, Ford had cast the DPS6 transmission’s myriad of failures as a design problem,

owned by Getrag. 46 And trying to fix the problems had been enormously expensive for Ford.

     155.         In a March 10, 2014 letter to Getrag, Ford’s Global Director, Powertrain Installation

Purchasing, Alan Draper, noted that fixing the leaking input shaft seals alone would cost Ford

hundreds of millions of dollars:

            After considerable technical analysis into the DPS6 seal leak concerns, Ford has
            determined that the appropriate remedy for affected vehicles is to initiate two
            separate customer satisfaction actions aimed at maintaining confidence in vehicles
            equipped with DPS6 transmissions built prior to the incorporation of the shaft seal
            material change in 2013.
            1.    Proactive seal repair of 856K DPS6 equipped vehicles
            2.   Extended warranty for 1.4M DPS6 equipped vehicles (including vehicles
            campaigned for the proactive seal repair)
            The initiation of these actions along with the corresponding customer notification
            is pending completion of a robust service part supply plan. Getrag’s support of this
            plan is recognized, and I ask for your team’s continued help as we work to finalize
            the details. At this time, we are forecasting that these actions alone will cost us over
            $650M through the 2019 calendar year in addition to our normal warranty
            coverage. 47
     156.         Ford knew from years of experience of working with the NHTSA that the agency

tended to evaluate the recall potential for a defect that caused an engine stall or a loss of motive power,

based on whether the particular condition gave the driver any warning of the impending stall and

whether the driver could quickly recover motive power.

     157.         The NHTSA’s position has its roots in a 1986 study commissioned by the U.S.

Department of Transportation Research and Special Programs Administration. The Transportation


45 VGS20020225; RE: P2832 & P2837 Back Ground Info On Shift Drum Reference; Chris Kwasniewicz;
Ford Motor Company; March 2, 2013.
46 VGS21355122; FW: DPS6 Getrag Status Update; Allyson Waldman; Ford Motor Company; March 24,

2014.
47 VGS20415045; Alan Draper Letter; Ford Motor Company; March 10, 2014.


                                                      35
     Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 36 of 63 PAGEID #: 36




Systems Center issued a report which attempted to identify “patterns which could yield insight

concerning the safety implications of stalling,” “high-risk stalling situations;” and “high-risk

vehicles/components.” 48 The researchers looked at complaints, calculated crash rates and compared

these data to a sample of investigations which resulted in recalls or were closed with no findings. The

researchers also analyzed a sample of the crash reports “to determine which vehicle characteristics and

stalling circumstances were related to serious safety problems.” 49

     158.        The researchers concluded that stalling incidents that occur without warning, at high

speeds, or upon acceleration are associated with stalling-related accidents more frequently than other

types of stalling problems. For example, loss of power steering or brakes due to stalling is cited as a

common accident cause. 50 In cases of a total loss of control, nearly half were involved in accidents. In

addition, the 4.8 percent of drivers who had no warning of the stalling incident before it occurred

were involved in accidents approximately 13 times more other than those who had some warning

prior to their stalling incident. 51

     159.        With that in mind, Ford worked assiduously to avoid fulfilling its recall responsibilities,

by persuading NHTSA that drivers who experienced a loss of motive power due to the solder crack

issue in the MAM could quickly recover. 52 And, rather than recall and replace the defective clutches,

or buy back the vehicles, Ford engineers proposed a $1.5 million project to “develop and test a

software strategy that provides early warning to the customer (Overt Detection) prior to a MAM



48 Analysis of Stalling Problems; Simon Prensky; Pg. ii; U.S. Department of Transportation Research and
Special Programs Administration Transportation Systems Center; November 1986.
49 Analysis of Stalling Problems; Simon Prensky; Pg. ii; U.S. Department of Transportation Research and

Special Programs Administration Transportation Systems Center; November 1986.
50 Analysis of Stalling Problems; Simon Prensky; Pg. ii; U.S. Department of Transportation Research and

Special Programs Administration Transportation Systems Center; November 1986.
51 Analysis of Stalling Problems; Simon Prensky; Pg. ii; U.S. Department of Transportation Research and

Special Programs Administration Transportation Systems Center; November 1986.
52 VGS5-00365439; Re: Request for Confidential Treatment of Information Pertaining to a Recent WebEx

Presentation, November 19, 2017.

                                                    36
     Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 37 of 63 PAGEID #: 37




concern that may result in the loss of motive power.” 53

     160.       Among the benefits outlined were a faster implementation of a software reflash of the

MAM, avoiding customer dissatisfaction because drivers would have time to “schedule MAM

replacement at the dealer, prior to MAM concern that has the potential to leave them stranded,” and

reduce costs by spreading the demand for MAM replacements over time. 54 Finally, the proposal noted

that an overt detection strategy would “satisfy NHTSA - Overt Detection is a pro-active action to

protect our customers, which will more easily satisfy NHTSA’s requirements.” 55

     161.       This latter idea was also expressed in Ford communications regarding its presentation

to the Australian government probing the failures of the DPS6. On March 8, 2017, Mariusz Czubek,

a specialist with the Ford AP Warranty Spend Reduction Group, contacted Ford Engineer Jonathan

Graves of the DPS6 Transmission group for information to aid his analysis on the effectiveness of

the new software re-flash under Customer Satisfaction Campaign 15B221 which caused a warning

light “to come up and hopefully prevent them ‘getting stuck.’” 56 In reply, Mr. Graves noted: “15B22

was released to satisfy NHTSA recall requirements and updates each vehicle to Overt Software for

early detection of solder cracks.” 57

     162.       In its reply to the NHTSA’s information request, Ford was prepared to stake its

position against a recall on the argument that other systems, such as noting that the brakes and airbags

and steering still worked, that there was a warning to the driver, and that new software would make



53 VGS7-0059304 Overt Detection and Early Warning of DPS6 Mechatronic Actuation Module (MAM)
Issue. Ford Motor Company; 2014.
54 VGS7-0059304 Overt Detection and Early Warning of DPS6 Mechatronic Actuation Module (MAM)

Issue. Ford Motor Company; 2014.
55 VGS7-0059304 Overt Detection and Early Warning of DPS6 Mechatronic Actuation Module (MAM)

Issue. Ford Motor Company; 2014.
56 DSP6-SAC 00050546; Subject: RE: MAM DTC fault code effect on customer; Mariusz Czubek March 10,

2017.
57 DSP6-SAC 00050546; Subject: RE: MAM DTC fault code effect on customer; Jonathan Graves; March 10,

2017.

                                                  37
    Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 38 of 63 PAGEID #: 38




the driver aware of the need for service before the cracks grew large enough to cause serious problems.

According to a draft response, Ford officials noted:

           Closing rationale -This should include:
           •      Because solder fatigue crack propagation is progressive in nature, associated
           warnings and drivability symptoms are progressive in nature, as well. Of customers
           that allege to have eventually lost mobility, the majority said they were able to regain
           mobility either immediately or within minutes by moving the shift lever or cycling
           the key.
           •      Other vehicle systems such as power steering, power brakes, restraint
           systems, electrical functions, etc. are unaffected
           •      Ford’s extended warranty letter to customers highlights the vehicle
           symptoms associated with this condition, and provides financial coverage in order
           to encourage vehicle repair before the symptoms progress in nature.


   FORD HAS CONDUCTED SAFETY RECALLS AS TO DEFECTS THAT CAUSED
  STALLS VIRTUALLY IDENTICAL TO THE UNINTENDED NEUTRAL EVENTS
           THAT MAKE THE DPS6-EQUIPPED VEHICLES UNSAFE
    163.         Ford is “on notice,” due to its history of selling defective vehicles and regulatory

enforcement actions and court proceedings, that it is legally required to recall vehicles that suffer from

unintended neutral/loss of motive power/stall condition events.

    164.          In the last 15 years, Ford has launched seven (7) such recalls – including four between

2012 and 2016, the same period in which Ford avoided recalls for unintended neutral/loss of motive

power conditions caused by the DPS6 transmission.

    165.         In 2003, Ford became the only automaker to issue a judicially ordered recall for a

stalling condition, after two decades of failed NHTSA investigations. From 1982 to 1997, the NHTSA

investigated ignition module failures, but Ford misled the agency for years about the causes of stalling

(affecting multiple models and model years) with no consequences to the company. In the absence of

accurate information from Ford, NHTSA’s Office of Defect Investigations (“ODI”) was unable to

identify the failure. Thus, the ignition defect bears the distinction of being the first court-ordered recall


                                                     38
     Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 39 of 63 PAGEID #: 39




outside of the NHTSA.

     166.       The ignition module defect caused loss of power like that affecting the DPS6 equipped

vehicles. Ford’s ignition system 58 was heat- sensitive, yet Ford placed it in the hottest location under

the hood; at certain temperatures, the module would cut out, causing the vehicle to stall at highway

speeds. 59 After four years Ford’s warranty data showed that the return rate far exceeded projections,

but many of the returned parts did not exhibit the failure mechanism because, once cooled down, the

component would resume working. Ford eventually identified the problem but failed to act on its

knowledge. 60

     167.       The NHTSA launched five investigations but could not definitively isolate a root cause

of the stalling, in part because Ford withheld documents that would have shown the effect of thermal

stress on the ignition modules resulted in stalling, instead of a range of drivability issues.

     168.       In 1987, the NHTSA examined the stalling issue in 2.6 million 1983 through 1986

Escort, Tempo, Mustang, LTD, Thunderbird, EXP, Cougar, Topaz, Capri, Merkur, Lynx and Marquis

vehicles equipped with 1.6 liter or 2.3-liter engines. The NHTSA’s Office of Defects Investigation

investigated based on 33 stalling complaints; Ford located another 1,819 field reports and 649

complaints, but it combined different complaints into one pool of “failure to start the engine, poor

engine performance and engine stalling.” 61

     169.       Ford cast the DPS6 defect as a drivability issue: “As we have stated to the agency in

the past, today’s engine and emission system controls have become very intricate and the diagnoses




58 The ‘‘trouble not identified’’ phenomenon in automotive electronics; Dawn Thomas, et al; Microelectronics
Reliability; January 23, 2002.
59 The ‘‘trouble not identified’’ phenomenon in automotive electronics; Dawn Thomas, et al; Microelectronics

Reliability; January 23, 2002.
60 The ‘‘trouble not identified’’ phenomenon in automotive electronics; Dawn Thomas, et al; Microelectronics

Reliability; January 23, 2002.
61 PE87-028; Opening Letter; National Highway Traffic Safety Administration; May 12, 1987.


                                                    39
     Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 40 of 63 PAGEID #: 40




of drivability and/or stalling conditions have likewise become very difficult.” 62

     170.         Both Ford and NHTSA conceded that the ignition module was to blame:

              Clearly evident is the fact that Ford experienced a massive engine controllability
              problem with the introduction of a new thick film ignition module (TFI) in the
              1.6 and 2.3 liter engines…Ultimately, Ford engineers identified the root cause of
              the problem to be thermal fatigue of the TFI ~ transistor assembly and integrated
              circuit failures which were aggravated by elevated engine compartment
              temperatures and by thermal cycling. 63

     171.         But Ford misled the NHTSA about the scope of the problem and oversold its ability

to resolve the issue. 64

     172.         A class action lawsuit on behalf of Ford owners prompted the NHTSA to open a sixth

investigation in 1997, which revealed that Ford had failed to produce documents to the agency. By

then, the eight-year statute of limitations on recalls had passed, and the civil penalties the agency could

have imposed were low. 65 In 1999, the lawsuit ended in a hung jury, but resulted in a judicially ordered

recall. Ford eventually settled the litigation in 2003 by doubling the component’s warranty.

     173.         Another recall also illustrates Ford’s refusals to accept responsibility for loss of power

problems. In April 2004, a NHTSA probe forced Ford to recall 321,903 2001-2003 Escape vehicles

for a condition in which a fuel-rich mixture could cause the vehicles to stall during decelerations at

speeds below 40 mph. 66 In its Part 573 Notice of Defect and Noncompliance, Ford argued that the

vehicles were still controllable and re-started immediately:

            Ford’s investigation found that the vehicles remained controllable after such engine
            stalls and can readily be maneuvered off the roadway. Further, the vehicles typically
            restart immediately, and some owners reported starting their vehicle without
            coming to a stop coming to a stop. While it may be argued that stalling under certain

62 PE87-028; Closing Resume; National Highway Traffic Safety Administration; May 1, 1987; PDF pg. 11.
63 PE87-028; Closing Resume; National Highway Traffic Safety Administration; May 1, 1987; PDF pg. 11.
64 Howard v. Ford’ Plaintiff’s Opening Trial Brief; Phase Two; June 12, 2000.
65 Lawsuit Asserts Ford Knowingly Installed Defective Mechanism in Millions of Vehicles; Tim Golden; The

New York Times; September 6, 1997.
66 Recall 04V165; Notice of Defect and Noncompliance; Ford Motor Company; April 5, 2004.


                                                     40
     Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 41 of 63 PAGEID #: 41




            conditions may increase the risk to safely, the stalling characteristics in this
            population of vehicles do not pose an unreasonable risk of accident or injury. The
            reports in this investigation clearly bear this out. Ford does not by taking this action,
            admit that a safety defect exists in these vehicles nor does Ford believe that engine
            stalling presents an unreasonable risk to motor vehicle safety. Ford Believes that
            the agency should update its earlier study of engine stalling as a sequel to the earlier
            “Analysis of Stalling Problems,” sponsored by The Transportation System
            Center. 67

     174.         In June 2005, Ford recalled 180,104 Ford F-SuperDuty, Excursion, and E-Series

vehicles from the 2004-2005 model years, equipped with 6.0l diesel engines, for reported engine

stalling to address two wiring related conditions, specifically that the FICM wire harness chafing or
improper ICP sensor connector crimps could cause the vehicle to stall without warning, with no re-

start. 68 Ford argued that the stalling hadn’t caused any injuries or crashes:

            Ford’s investigation has demonstrated that the reported stalling incidents in the
            affected vehicles do not present an unreasonable risk to safety. The vehicles remain
            controllable in the event of stalling. Real world performance, with virtually no
            accidents or injuries, supports our analysis. Nonetheless, to address customer
            satisfaction concerns and to avoid prolonged discussions with the agency, we are
            conducting this recall. 69
     175.         In January 2012, the NHTSA compelled Ford to recall 205,896 2004 and 2005 model

year Ford Freestar and Mercury Monterey vehicles for problems that cause torque converter

malfunctions and engine stalls. In its responses to an agency investigation, Ford laid out all of the

same “controllability” arguments against a finding of a safety defect: According to Ford, the vehicle

“remains readily controllable; the vehicle will coast during which it can be safely maneuvered and

stopped because the engine continues to run. Because the engine continues to run, steering and

braking are unaffected, and the vehicle’s electrical system and directional signals remain functional.

Further, the transmission park system remains fully functional. At that time only one ambiguous,




67 Recall 04V165; Notice of Defect and Noncompliance; Ford Motor Company; April 5, 2004.
68 Recall 05V270; Notice of Defect and Noncompliance; Ford Motor Company; June 7, 2005.
69 Recall 05V270; Notice of Defect and Noncompliance; Ford Motor Company; June 7, 2005.


                                                       41
     Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 42 of 63 PAGEID #: 42




alleged minor accident involving a vehicle trailing behind the Freestar was identified with no alleged

injuries.” 70 Ford eventually launched a recall to “avoid a protracted dispute with the agency.” 71

     176.       In October 2013, Ford recalled 2,456 Focus Electric vehicles (model years 2012-2014)

for a failure of the Power Control Module. The defect caused “a sudden loss of motive power while

driving, increasing the risk of a crash.” 72 Drivers received warning in the form of “a red triangle

indicator and the message ‘Stop Safely Now’ in the instrument cluster.” Ford’s Part 573 Recall Notice

further stated that other safety-critical functions – “vehicle brake and steering systems will continue

to operate normally and vehicle can often be restarted after going through a shutdown process.” 73

According to the chronology Ford filed with its Part 573, Ford’s Critical Concern Review Group

initially wanted to pass off the issue as a customer satisfaction matter – despite 16 reports of “Focus

Electric vehicles experiencing loss of mobility accompanied by a “Stop Safely Now” message in the

instrument cluster.” However, after the NHTSA opened a preliminary evaluation (PE13-031) into the

issue as it affected 2012-2013 Focus Electric vehicles, the CCRG found additional reports and

recommended a recall in October 2013. 74

     177.        In 2016, Ford recalled 865 Focus Electric vehicles (2015-2016 model years) because

increased friction and excessive wear of a certain gear shaft could result in overheating and eventual

fracture of the shaft or pinion gears. This could lead to loss of motive power while driving and loss of

the transmission park function without warning, increasing the risk of a crash.” Ford claimed it was

not aware of any warranty reports, accidents or injuries related to the defect. 75

     178.        In August 2016, Ford recalled 77,502 2013-2015 Ford Taurus and 2013-2015 Ford



70 Recall 12V006; Defect and Noncompliance Notice; January 9, 2012.
71 Recall 12V006; Defect and Noncompliance Notice; January 9, 2012.
72 Recall 13V523; Defect and Noncompliance Notice; October 21, 2013.
73 Recall 13V523; Defect and Noncompliance Notice; October 21, 2013.
74 Recall 13V523; Defect and Noncompliance Notice; October 21, 2013.
75 Recall 16V479; Defect and Noncompliance Notice; June 27, 2016.


                                                   42
      Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 43 of 63 PAGEID #: 43




Taurus Police Interceptor, Lincoln MKS and MKT vehicles, due to the malfunction of a component

within the fuel Pump Electric Module (PEM) caused by elevated temperatures within the module.

“Malfunction of the fuel PEM may result in an open circuit causing a loss of electrical power to the

fuel pump. If this occurs, the customer may experience an engine no start or an engine stall. In some

cases, the engine may stall without warning or the ability to restart.” 76

      179.        In October 2018, Ford recalled more than 1.2 million 2012-2018 Ford Focus vehicles

due to a malfunctioning Canister Purge Valve (CPV) that can stick open and a Powertrain Control

Module (PCM) software that does not adequately detect a stuck-open CPV. 77 In its Defect and

Noncompliance notice, Ford noted that a stuck CPV “can cause excessive vacuum in the fuel vapor

management system, potentially deforming the fuel tank. If this occurs, the customer may observe a

Malfunction Indicator Light (MIL), inaccurate or erratic fuel gauge indication, drivability concerns or

loss of motive power.”

      180.        In the case of the DPS6 Transmission, as in those prior cases, Ford actively concealed

from the NHTSA its knowledge about the extent of the safety-related problems, and about the total

number of crashes and injuries associated with the multiple DPS6 Transmission Defects. Ford took

this course – not guided by engineering safety concerns – but out of political expediency with its

supplier Getrag, and concerns about the enormous costs in delivering an effective repair or initiating

a buyback program.

 FORD HAD EXCLUSIVE KNOWLEDGE OF THE TRANSMISSION DEFECTS AND
           FRAUDULENTLY CONCEALED THIS INFORMATION
      181.        Ford had superior and exclusive knowledge of the Transmission Defects, and Ford

knew or should have known that the Transmission Defects was not known or reasonably discoverable



76   Recall 16V621; Defect and Noncompliance Notice; August 22, 2016.
77   Recall 18V735; Defect and Noncompliance Notice; October 22, 2018.

                                                    43
   Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 44 of 63 PAGEID #: 44




to Plaintiff before purchasing the Vehicle.

   182.         Since at least 2010, Ford has known about the Transmission Defects through sources

not available to consumers such as Plaintiff, including through Ford’s pre-release testing data, early

consumer complaints to Ford and its dealers about the Transmission Defects, testing conducted by

Ford in response to those complaints, Ford’s internal data showing high failure rates and replacement

part sales, aggregate data from Ford dealers, and other Ford-proprietary sources of aggregate

information about the problem including, but not limited to, similar defects in the substantially

identical models sold overseas.

   183.         Ford knew about, and as a matter of business practice, failed to disclose and concealed,

the Transmission Defects present in the DPS6-equipped vehicles, along with the Transmission

Defects’ dangerous safety and drivability problems, from consumers, including Plaintiff, when it sold

the car, repaired the car, and thereafter. In fact, instead of repairing defects in the DPS6, Ford

frequently either refused to acknowledge the defects’ existence or performed superficial and

ineffectual software upgrades that simply masked the symptoms of the Transmission Defects.

   184.         The existence of the Transmission Defects is a material fact that a reasonable

consumer would consider when deciding whether to purchase a vehicle equipped with a PowerShift

Transmission.

   185.         Consumers reasonably expect that a vehicle’s transmission is safe, will function in a

manner that will not pose a safety hazard, and is free from manufacturing defects. Ordinary consumers

further reasonably expect that a car manufacturer such as Ford will not sell or lease vehicles with

known safety defects, such as the Transmission Defects, and will disclose any such defects to

consumers upon their discovery. Reasonable consumers, including Plaintiff, would not expect Ford

to fail to disclose the Transmission Defects to them and to continually deny the defect.

                  FORD’S FAILURE TO DISCLOSE THE DPS6 DEFECTS
                                                  44
    Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 45 of 63 PAGEID #: 45




    186.        Ford has never disclosed the PowerShift Transmission Defects to consumers prior to

their purchases or leases of affected vehicles, nor at any point during their ownership of such vehicles.

Similarly, Ford never instructed its dealerships to disclose the PowerShift Transmission Defects to

potential purchasers or lessees of vehicles equipped with the DPS6.

    187.        The PowerShift Transmission Defects were not known or reasonably discoverable by

ordinary consumers before purchase or lease, or without experiencing the defect firsthand and

exposing themselves to an unreasonable safety risk.

    188.        Ford has remained silent publicly even as it issued service bulletins, conducted internal

investigations, and witnessed the increasing failures of the DPS6 Transmission in its vehicles

domestically and abroad.

    189.        Ford’s refusal to publicly acknowledge the defect has created widespread confusion.

Ford’s failure to notify consumers, dealerships, or auto-technicians prevents PowerShift Transmission

problems from being efficiently diagnosed. Drivers are led to believe that the problems they are

experiencing are actually “normal characteristics” of the PowerShift Transmission. Likewise, the lack

of information makes it less likely that dealerships and auto-technicians will be able to diagnose and

fix the PowerShift Transmission Defects or advise a consumer about the dangers of driving the

affected vehicle.

    190.        As a result of Ford’s inaction and silence, consumers were entirely unaware that they

had purchased, and were continuing to drive, an unsafe and unreliable vehicle. As Ford knows, a

reasonable person would consider the PowerShift Transmission Defects important and would not

purchase or lease a vehicle equipped with the PowerShift Transmission were its defects disclosed in

advance or would pay substantially less for the vehicle.

           FORD ACTIVELY CONCEALED THE TRANSMISSION DEFECTS

    191.        As a result of the Transmission Defects, Ford was inundated with complaints

                                                   45
      Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 46 of 63 PAGEID #: 46




regarding the PowerShift Transmission. In July 2011, Ford implemented a communications strategy

intended to minimize certain behavior of the PowerShift Transmission in order to “improve customer

expectations.” In a memo with instructions sent to Ford dealers and service personnel, which Ford

intended its dealers and service personnel to rely on in their communications to consumers, Ford

noted that “PowerShift optimizes fuel efficiency with up to 40MPG and driving dynamic ‘Fun to

Drive’ performance.” It further noted, “The PowerShift is really like two 3-speed manual

transmissions put together, with the freedom of operating a clutch as the components are controlled

electronically. Since most of the components are derived from a manual transmission, the PowerShift

transmission will drive, sound, or feel like a manual transmission only the driver does not have to shift

gears.”

      192.       Some of the common and “normal characteristics” of the PowerShift Transmission

were listed as “double clicking metal sounds … of gears shifting and synchronizers (similar to a manual

transmission);” a “slight gear whine while slowing or coasting,” and “a reverse trailer hitching feel (or

a slight bumping feel) … at about 2MPH.” Ford also advised its dealers about low speed grinding,

reverse gear whine, and “Green Clutches” which can “lead to a rattle noise” and “a take-off shudder

/launch judder (shaky vs. smooth).” According to Ford, the shudder would become “progressively

better … as the clutch breaks-in.” 78

      193.       However, despite Ford’s public insistence that these performance problems with the

PowerShift Transmission were normal, in 2010 and 2011, Ford issued several TSBs to its dealers in

the United States acknowledging defects in the PowerShift Transmission. Ford’s TSB from September

2010, covering the DPS6-equipped 2011 Ford Fiesta, informs dealers how to address and attempt to

repair the PowerShift Transmission in response to “concerns such as no engagement or intermittent



78   VGS21630260, EFC000562DC, Ford Motor Company, July 25, 2011.

                                                   46
    Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 47 of 63 PAGEID #: 47




no engagement in Drive or Reverse when shifting from Park to Drive or Reverse, grinding noise

during engagement, and/or a check engine light with transmission control module (TCM) diagnostic

trouble code…”

    194.        Ford’s TSB released on January 1, 2011, covering the 2011 Fiesta with the PowerShift

Transmission, informs dealers of problems with the PowerShift Transmission causing “a loss of

power, hesitation, surge, or lack of throttle response while driving.”

    195.        Ford’s TSB from March 31, 2011, also covering the 2011 Ford Fiesta, informs dealers

of problems where the PowerShift Transmission “exhibit[s] a rattle/grind noise in reverse only.”

    196.        Ford issued two separate TSBs in May 2011, both covering the Ford Fiesta. These

TSBs addressed problems with the PowerShift Transmission including “concerns in Drive or Reverse

when shifting from Park to Drive or reverse, no engagement, delayed engagement, intermittent

engagement, noise during engagement…”

    197.        Ford released another TSB in September 2011, which advised dealers to reprogram

the transmission computer if 2011 Fiesta owners complained about “hesitation when accelerating

from a low speed after coast down, harsh or late 1-2 upshift, harsh shifting during low-speed tip-in or

tip-out maneuvers and/or engine r.p.m. flare when coasting to a stop.”

    198.        The 2012 Ford Focus was the subject of a Ford TSB in September 2011, which

informed dealers of transmission problems including: “RPM flare on deceleration coming to a stop,

rough idle on deceleration coming to a stop, intermittent engine idle fluctuations at a stop, intermittent

vehicle speed control inoperative, intermittent harsh engagement/shift…”

    199.        In December of 2011, Motor Trend magazine called these efforts by Ford a “stealth

upgrade” and noted that while “[t]here’s no official recall or service campaign… anybody who

complains or requests an upgrade at the dealership can have their powertrain control computer re-

flashed.”

                                                   47
   Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 48 of 63 PAGEID #: 48




   200.        The software upgrades recommended and encouraged by the various TSBs issued by

Ford were completely ineffective at addressing the Transmission Defects.

   201.        At time, when Plaintiff presented the Vehicle to Ford’s authorized dealer for repair to

the transmission, rather than inform Plaintiff of the Transmission Defects or conclusively repair the

problem under warranty, Ford’s dealers and authorized repair facilities stated that Vehicle was

functioning properly, or performed superficial and ineffectual software updates that delayed or

masked the manifestation of the Transmission Defects in an attempt to avoid more comprehensive

and expensive repairs or replacements under the warranty.

   202.        To this day, Ford still has not publicly acknowledged that the Powershift Transmission

suffers from a systemic defect that causes the transmission to malfunction.

            PLAINTIFF’S CLAIMS ARE TIMELY UNDER LAWS OF EQUITY
 All Statute of Limitations Periods are Tolled by the Discovery Rule and by the Doctrine of
                                  Fraudulent Concealment

   203.        Ford misrepresented the qualities of the transmissions sold to Plaintiff.

   204.        Ford concealed from Plaintiff the fact that the transmissions was defective.

   205.        Ford continued to misrepresent its ability to repair the Plaintiff’s Vehicle in conformity

with the warranty throughout the warranty period.

   206.        At all relevant times, Ford was aware of the defects in the DPS6.

   207.        As described in more detail supra, as early as 2010, Ford began issuing significant TSBs

to its authorized dealers explaining the widespread issues with the DPS6. At no point prior to the sale

of the Vehicle to Plaintiff or during Plaintiff’s ownership of the Vehicle did Ford or an authorized

Ford dealer ever inform Plaintiff of the ongoing defect, or the fact that Plaintiff’s Vehicle was not

actually equipped with an automatic transmission.

   208.        Ford had a duty to disclose the concealed facts alleged above because Ford knew that


                                                  48
    Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 49 of 63 PAGEID #: 49




Plaintiff did not know these material facts, and further knew that such facts were not readily accessible

to the Plaintiff because Ford actively concealed these facts from Plaintiff.

    209.        Ford had a duty to disclose the concealed facts alleged above because Ford made

misrepresentations in its marketing materials and window stickers and through its authorized sales

representatives about the quality, characteristics, and safety of the Powershift Transmission.

    210.        Ford had a duty to disclose the concealed facts alleged above because Ford actively

concealed material facts in order to induce a false belief.

    211.        Ford intended for Plaintiff to rely on those misrepresentations to conceal the fact that

the defective Powershift Transmission could not be repaired.

    212.        Prior to the sale and lease of the Vehicle to Plaintiff, and at all times thereafter, Ford

failed to disclose the existence of the vehicle’s inherent defects to Plaintiff, and Ford failed to disclose

its inability to repair these inherent defects, which prevented Plaintiff’s Vehicle from conforming to

its applicable warranties. In effect, after the sale of the Vehicle, Ford fraudulently concealed from

Plaintiff, the fact that the Ford authorized dealers were not properly repairing the defects to the DPS6,

and knew that the limited work that Ford had authorized its dealerships to perform on the Vehicle

would not properly repair it. Ford also continued to conceal the fact that Plaintiff’s Vehicle was not

in fact equipped with an automatic transmission as advertised.

    213.        On or around March 27, 2015, in response to complaints about the Transmission

Defects to date, Ford issued a TSB to its dealers and authorized repair facilities acknowledging defects

in the PowerShift Transmission. Ford’s March 27, 2015 TSB, covering the 2013 Ford Focus, informed

dealers and service personnel that “FORD 2011-2014 MODEL YEAR FIESTA AND FOCUS

VEHICLES EQUIPPED WITH A DPS6 AUTOMATIC TRANSMISSION WILL EXPERIENCE,

ON LIGHT ACCELERATION, CLUTCH SHUDDERING.”

    214.        Ford’s March 27, 2015 TSB states, unequivocally, that the Vehicle’s transmissions will

                                                    49
    Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 50 of 63 PAGEID #: 50




experience transmission shudder on acceleration. This was the earliest known date that Ford made

any attempt to notify consumer like Plaintiff through Ford’s authorized repair technicians of any of

the known defects in the transmission or the implication that the vehicle’s transmission was

problematic. This date was the earliest date that Plaintiff could have had any sort of notice of the facts

that give rise to Plaintiff’s fraud cause of action. Ford did not disclose any of this information prior to

the sale of the Vehicle to Plaintiff or at any earlier date during ownership. Accordingly, Plaintiff could

not have discovered the basis for the claims prior to March 27, 2015. Plaintiff could not, despite

reasonable and diligent investigation, have discovered this information on an earlier date because of

Ford’s fraudulent misrepresentations and concealment of the defects in the DPS6 in Plaintiff’s

Vehicle, as alleged supra.

    215.        Additionally, Ford, through its employees, servants and agents repeatedly made false

assurances to Plaintiff, upon which Plaintiff reasonably relied. Specifically, Ford represented that it

would repair any problems with the transmission in Plaintiff’s Vehicle that occurred during the express

warranty period, and that the Vehicle and its problems would not be repeating or continue unresolved.

Ford’s false assurances further delayed Plaintiff’s discovery of their claims. The statute of limitations

for Plaintiff’s claim against Ford was therefore tolled under the delayed discovery rule and the doctrine

of fraudulent concealment until Plaintiff could have first discovered that Ford had misrepresented the

characteristics of the transmission and concealed the known defects during the ownership of the

Vehicle.

    216.        Because Ford failed to disclose these foregoing facts to Plaintiff, all statute of

limitations periods with respect to sale of the Vehicle was tolled by the doctrines of fraudulent

concealment, the discovery rule, and equitable tolling. As alleged herein, Ford wrongfully concealed

the fact (1) that the Vehicle was equipped with a manual transmission (the DPS6 PowerShift

Transmission), and (2) that Ford’s authorized repair dealerships were making inadequate repairs that

                                                    50
    Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 51 of 63 PAGEID #: 51




were incapable of addressing the root cause of the Vehicle’s transmission malfunctions.

    217.         Plaintiff did not discover the operative facts that are the basis of the claims alleged

herein because the facts were concealed by Ford in confidential and privileged documents, which a

consumer would not know about and could not obtain.

    218.         No amount of diligence by Plaintiff could have led to the discovery of these facts

because they were kept secret by Ford and, therefore, Plaintiff were not at fault for failing to discover

these facts earlier.

    219.         Plaintiff did not have actual knowledge of facts sufficient to put Plaintiff on notice.

Plaintiff did not know, and could not have known, about Ford’s inability to repair the defects in the

Vehicle’s DPS6 PowerShift Transmission because, as alleged above, Ford kept this information highly

confidential, and Ford’s authorized repair dealership assured Plaintiff that its repairs were effective.

  ALL STATUTE OF LIMITATIONS ARE TOLLED BY THE TOLLING DOCTRINE
ESTABLISHED IN AMERICAN PIPE & CONSTRUCTION CO. V. UTAH, 414 U.S. 538
(1974) AS A RESULT OF THE CLASS ACTION VARGAS V. FORD MOTOR COMPANY

    220.         Plaintiff gave timely notice of their claims against Ford in the present action as putative

class members in a class action styled Vargas v. Ford Motor Company, United States District Court,

Central District of California, Case No. 2:12-cv-08388 ABC (FFMx), which was filed on September

28, 2012. That action was filed within three years of the date of Plaintiff’s discovery of the claims

against Ford in the present action, as previously described in detail above.

    221.         There is no prejudice to Ford in gathering evidence to defend against Plaintiff’s

individual claims because the class definition in the class action complaint, within which Plaintiff was

a putative class member, and the allegations in the class action lawsuit, Vargas v. Ford Motor Company,

United States District Court, Central District of California, Case No. 2:12-cv-08388 ABC (FFMx)

(“Vargas”), put Ford on notice of the facts that give rise to Plaintiff’s action, the witnesses necessary

for Ford to defend Plaintiff’s action, and the causes of action against Ford asserted in Plaintiff’s action.

                                                    51
    Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 52 of 63 PAGEID #: 52




    222.          Vargas alleged the material facts on behalf of Plaintiff as a putative class member as

are being alleged by Plaintiff herein.

    223.          The facts alleged in Vargas are substantially similar, if not identical, to the facts alleged

herein.

    224.          The allegations in Vargas are based on the same subject matter and similar evidence as

the instant complaint. Those allegations concern the same evidence, memories, and witnesses as the

subject matter in the instant complaint.

    225.          The Vargas class action protected the efficiency and economy of litigation because

that class action protected the rights of thousands of consumers nationwide through a single action.

    226.          The tolling of Plaintiff’s individual statute of limitations encourages the protection of

efficiency and economy in litigation as promoted by the class action devise, so that putative class

members would not find it necessary to seek to intervene or to join individually because of fear the

class might never be certified or putative class members may subsequently seek to request exclusion.

    227.          The running of all statute of limitations on Plaintiff’s claims asserted against Ford in

the present action were therefore tolled by American-Pipe tolling during the entire pendency of Vargas

(i.e., from the date Vargas was filed on September 28, 2012 to the date on which Plaintiff filed the

instant action.

                                  FIRST CAUSE OF ACTION
                      Breach of Express Warranty, 810 Ill. Comp. Stat. 5/2-313

    228.          Plaintiff incorporates by reference all facts and allegations set forth in this Complaint.

    229.          Plaintiff’s purchase or lease of the Vehicle was accompanied by an express warranty

under 810 Ill. Comp. Stat. 5/2-313, written and otherwise offered by Ford, whereby said warranty was

part of the basis of the bargain of upon which Plaintiff relied.

    230.          Plaintiff’s Vehicle constitutes goods.


                                                      52
    Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 53 of 63 PAGEID #: 53




    231.        Plaintiff’s Vehicle was not as warranted and represented in that the Vehicle had

Transmission Defects (as defined supra), as well as defects or conditions as reflected in the various

repair orders, TSBs, special service messages, recall documents and consumer complaints in Ford’s

possession.

    232.        As a result of the Transmission Defects in the Vehicle, Plaintiff cannot reasonably rely

the car for the ordinary and intended purpose of providing safe, reliable, and efficient transportation.

    233.        As a result of the Transmission Defects, Plaintiff suffered significant diminution in

the value of the Vehicle.

    234.        Plaintiff provided Ford with sufficient opportunities to repair or replace the Vehicle.

    235.        Plaintiff reasonably met all obligations and pre-conditions as provided in the express

warranty that accompanied the Vehicle.

    236.        Ford breached its express warranties by failing to adequately repair the Vehicle or to

repair the Vehicle in a timely fashion, and the Vehicle remain in a defective condition at the time of

this filing.

    237.        The Vehicle’s defects have rendered the limited warranty ineffective to the extent that

the limited repair and/or adjustment of defective parts failed its essential purpose, pursuant to 810 Ill.

Comp. Stat. 5/2-313.

    238.        The Vehicle continues to contain defects which substantially impair its use and value

to Plaintiff.

    239.        These defects and non-conformities could not reasonably have been discovered by

Plaintiff prior to acceptance of the Vehicle.

    240.        Ford induced Plaintiff’s acceptance of the Vehicle by agreeing, by means of the express

warranty, to remedy, within a reasonable time, those defects which had not been or could not have

been discovered prior to acceptance and, further, by Ford’s failure to disclose the aforesaid

                                                   53
    Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 54 of 63 PAGEID #: 54




Transmission Defects and/or Ford’s active concealment of same.

    241.         As a result of the Transmission Defects, the Plaintiff have lost faith and confidence in

the Vehicle, Plaintiff cannot reasonably rely upon the Vehicle for the ordinary and intended purpose

of safe, reliable and efficient transportation.

    242.         As a result of Ford’s breaches of express warranties, Plaintiff suffered the damages set

forth herein.

WHEREFORE, Plaintiff requests that this Honorable Court enter a judgment against Ford granting

the following relief:

        a.       Declare that acceptance has been properly revoked by Plaintiff and for damages

                 incurred in revoking acceptance or, alternatively, damages in the amount Plaintiff is

                 found to be entitled;

        b.       A refund of the purchase price paid by Plaintiff for the Vehicle;

        c.       Incidental, consequential and actual damages;

        e.       Costs, interest, and actual attorney fees; and

        f.       Such other relief this Court deems just and equitable.

                                    SECOND CAUSE OF ACTION
                              Breach of Implied Warranty of Merchantability
                                        810 Ill. Comp. Stat. 5/2-314

    243.         Plaintiff incorporates by reference all facts and allegations set forth in this Complaint.

    244.         Ford is a merchant with respect to motor vehicles, including the subject Vehicle.

    245.         The Vehicle was subject to implied warranties of merchantability under 810 Ill. Comp.

Stat. 5/2-314.

    246.         The Vehicle was not fit for the ordinary purpose for which such goods are used and/or


                                                    54
    Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 55 of 63 PAGEID #: 55




the Vehicle would not pass without objection in the trade for the product description.

    247.        The Transmission Defects and problems hereinbefore described rendered the Vehicle

unmerchantable.

    248.        Ford failed to adequately remedy the Transmission Defects in the Vehicle within a

reasonable time, and the Vehicle continues to be in unmerchantable condition at the time of filing this

Complaint.

    249.        As a result of Ford’s breaches of implied warranties, Plaintiff has suffered damages.

        WHEREFORE, Plaintiff requests that this Honorable Court enter a judgment against Ford

granting the following relief:

        a.      Declare that acceptance has been properly revoked by Plaintiff and for damages

                incurred in revoking acceptance or, alternatively, damages in the amount Plaintiff is

                found to be entitled;

        b.      A refund of the purchase price paid by Plaintiff for the Vehicle;

        c.      Incidental, consequential and actual damages;

        e.      Costs, interest, and actual attorney fees; and

        f.      Such other relief this Court deems just and equitable.

                               THIRD CAUSE OF ACTION
              Violation of Magnuson-Moss Warranty Act, 15 U.S.C. § 2301, et seq.

    250.        Plaintiff incorporates by reference all facts and allegations set forth in this Complaint.

    251.        Plaintiff is a consumer as defined in 15 U.S.C. § 2301(3).

    252.        Ford is a supplier and warrantor as defined in 15 U.S.C. § 2301(4)(5).

    253.        The Vehicle is a consumer products as defined in 15 U.S.C. § 2301(6).

    254.        The Vehicle was delivered subject to a written warranty and/or a service contract as

                                                   55
    Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 56 of 63 PAGEID #: 56




those terms are defined in 15 U.S.C. § 2301(6) and 2301(8), respectively.

    255.          15 U.S.C. § 2301(a)(1), requires Ford, as warrantor, to remedy any defect, malfunction

or nonconformance of the Vehicle within a reasonable time and without charge to Plaintiff, as defined

by 15 U.S.C. § 2304(d).

    256.          In connection with the aforesaid transmission defects, which occurred during the time

and mileage parameters of Ford’s written express warranty, Ford failed to adequately repair same

under the warranty within a reasonable time.

    257.          15 U. S.C. §2310(d)(1) permits Plaintiff to bring an action against Ford for any breach

of express or implied warranty arising under state law, as well as any violation of the Act.

    258.          15 U.S.C. § 2308(a) prohibits Ford from disclaiming the implied warranty of

merchantability and 15 U.S.C. §2308(c) renders any attempted disclaimer invalid.

    259.          Plaintiff had sufficient direct dealings with either Ford or its agents to establish privity

of contract between Ford on one hand and Plaintiff on the other hand.

    260.          Ford authorized dealerships and technical support organizations operating under

contract with Ford are agents of Ford. Notwithstanding, privity is not required here because Plaintiff

is an intended third-party beneficiaries of contracts between Ford and its dealers. Ford dealerships

were not intended to be the ultimate consumer of the Vehicle and have no rights under the warranty

agreements provided with the Vehicle.

    261.          The subject warranty agreements were designed for and intended to benefit the

Plaintiff only.

    262.          Even though Plaintiff complied with all conditions precedent, Ford has failed and/or

refused to remedy within a reasonable time and without charge, the Transmission Defects.

    263.          Giving Ford a reasonable opportunity to cure its breach of its written warranties would

be unnecessary and futile in this case. Plaintiff have already done so, and Ford has failed, after

                                                      56
   Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 57 of 63 PAGEID #: 57




numerous attempts, to cure the defects. At the time of the sale of the Vehicle, Ford knew, should have

known, or was reckless in not knowing, of its omissions and/or misrepresentations concerning the

DPS6 PowerShift Transmission’s inability to perform as warranted, but it nonetheless failed to rectify

the situation and/or disclose the defective design. Under the circumstances, the remedies available

under any informal settlement procedure would be inadequate, and any requirement that Plaintiff

resort to an informal dispute resolution procedure and/or give Ford a reasonable opportunity to cure

its breach of warranties is excused and thereby deemed satisfied.

    264.        Further, Ford’s warranty states that resort to its informal settlement dispute procedure

administered by the Better Business Bureau is optional, to-wit:




See Ford Warranty Book Excerpts. Therefore, pre-suit resort to the BBB Auto Line program is not

required. See 16 C.F.R. § 703(b)(3) and 16 C.F.R. § 701.01(j)(2).

    265.        As a result of Ford’s breaches of express and implied warranties, Ford’s failure to

remedy same within a reasonable time and without charge to Plaintiff, and Ford’s other violations of

the Act, as set forth in this Complaint, Plaintiff suffered the damages set forth herein.

    266.        Plaintiff would suffer economic hardship if Plaintiff returned the Vehicle but did not

receive the return of all payments made. Because Ford is refusing to acknowledge any revocation of

acceptance and return immediately any payments made, Plaintiff has not re-accepted the Vehicle by


                                                   57
    Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 58 of 63 PAGEID #: 58




retaining it.

    267.        The amount in controversy of this action exceeds the sum of $75,000.00, exclusive of

interest, costs and attorney fees, computed based on all claims to be determined in this lawsuit.

    268.        Plaintiff seek all damages permitted by law, including diminution in value of the

Vehicle and/or loss of the benefit of the bargain, in an amount to be proven at trial.

        WHEREFORE, Plaintiff prays that this Honorable Court enter its Order requiring Ford to

accept return of the Vehicle and refund Plaintiff’s purchase price, together with taxes, insurance

premiums, interest, costs and actual attorney fees as provided by 15 U.S.C. § 2310(d)(2) or in the

alternative, that Plaintiff be awarded damages in the amount Plaintiff is found to be entitled, plus

interest, costs and actual attorney fees.

                    FOURTH CAUSE OF ACTION
 VIOLATION OF OHIO CONSUMER SALES PRACTICES ACT, R.C. § 1345.01, et seq.

    269.        Plaintiff incorporates by reference all facts and allegations set forth in this Complaint.

    270.        The Ohio Consumer Sales Practices Act, Ohio Revised Code § 1345.01, et seq.,

(“CSPA”) prohibits unfair or deceptive acts or practices in connection with a consumer transaction.

    271.        At all times relevant, Debra Schweizer was a “consumer,” as defined by the CSPA.

    272.        At all times relevant, the facts as set forth herein, effect a “consumer transaction,” as

defined by the CSPA.

    273.        At all times relevant, Ford’s actions and omissions in connection with the Vehicle, as

forth herein, was unfair and deceptive to Plaintiff.

    274.        At all times relevant, Ford’s breach of its express and implied warranties, as set forth

herein, was unfair and deceptive to Plaintiff.

    275.        At all times relevant, Ford’s fraud and concealment, as set forth herein, was unfair and

deceptive to Plaintiff.

                                                   58
    Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 59 of 63 PAGEID #: 59




    276.          As a result of claims and allegations set forth herein, inter alia, before, during, or after

a consumer transaction involving or effecting Plaintiff, Ford committed one or more unfair and

deceptive acts.

        WHEREFORE, Plaintiff prays for Judgment against Ford in whatever amount Plaintiff are

found to be entitled, together with equitable relief, actual and/or statutory damages, interest, costs,

and reasonable attorney fees as provided by statute.

                                       FIFTH CAUSE OF ACTION
                                Fraud by Misrepresentation and Concealment

    277.          Plaintiff incorporates by reference all facts and allegations set forth in this Complaint.

    278.          Ford committed fraud by selling the Vehicle to Plaintiff without disclosing that the

Vehicle and its DPS6 PowerShift Transmissions were defective and susceptible to sudden and

premature failure.

    279.          Prior to Plaintiff’s acquisition of the Vehicle, Ford was aware and knew that the

PowerShift Transmission installed on the Vehicle were defective, but Ford concealed this fact from

Plaintiff at the time of sale and thereafter.

    280.          Ford knew or should have known that the PowerShift Transmission had the

Transmission Defects, which presents a safety hazard and is unreasonably dangerous, because it can

suddenly and unexpectedly affect the ability to control the vehicle’s speed, acceleration, and

deceleration.

    281.          Ford acquired its knowledge of the Transmission Defects prior to Plaintiff acquiring

the Vehicle, through sources not available to consumers such as Plaintiff, including but not limited

to pre-production and post-production testing data, early consumer complaints about the

Transmission Defects made directly to Ford and its network of dealers, aggregate warranty data

compiled from Ford’s network of dealers, testing conducted by Ford in response to these

                                                      59
   Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 60 of 63 PAGEID #: 60




complaints, as well as warranty repair and part replacements data received by Ford from Ford’s

network of dealers, amongst other sources of internal information.

    282.        While Ford knew about the Transmission Defect, and its safety risks since 2010, if

not before, Ford concealed and failed to disclose the defective nature of Plaintiff’s Vehicle and its

PowerShift Transmissions to Plaintiff at the time of sale and thereafter.

    283.        Had Plaintiff known that their Vehicle suffered from the Transmission Defects,

Plaintiff would not have purchased the Vehicle.

    284.        Indeed, Plaintiff alleges that Ford knew that the Vehicle and its PowerShift

Transmissions suffered from an inherent defect, was defective, would fail prematurely, and was not

suitable for its intended use.

    285.        Ford was under a duty to Plaintiff to disclose the defective nature of the Vehicle and

its PowerShift Transmission, its safety consequences and/or the associated repair costs because:

        A.      Ford acquired its knowledge of the Transmission Defects and its potential

                consequences prior to Plaintiff acquiring the Vehicle, though sources not available

                to consumers such as Plaintiff, including but not limited to pre-production testing

                data, early consumer complaints about the Transmission Defects made directly to

                Ford and its network of dealers, aggregate warranty data compiled from Ford’s

                network of dealers, testing conducted by Ford in response to these complaints, as

                well as warranty repair and part replacements data received by Ford from Ford’s

                network of dealers, amongst other sources of internal information;

        B.      Ford was in a superior position from various internal sources to know (or should

                have known) the true state of facts about the material defects contained in vehicles

                equipped with PowerShift Transmission; and


                                                  60
   Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 61 of 63 PAGEID #: 61




        C.      Plaintiff could not reasonably have been expected to learn or discover of the

                Vehicle’s Transmission Defects and its potential consequences until well after

                Plaintiff purchased the Vehicle.

    782.        The facts concealed or not disclosed by Ford to Plaintiff are material in that a

reasonable person would have considered them to be important in deciding whether to purchase

the Vehicle. Had Plaintiff known that the Vehicle and its transmissions were defective at the time

of sale, Plaintiff would not have purchased the Vehicle.

    783.        Plaintiff is a reasonable consumers who did not expect the transmissions to fail and

not work properly. Plaintiff further expected and assumed that Ford would not sell vehicles with

known material defects, including but not limited to those involving the Vehicle’s transmissions,

and would disclose any such defect to its consumers before selling such vehicles.

    784.        As a result of Ford’s misconduct, Plaintiff suffered and will continue to suffer actual

damages.

    785.        Ford repeatedly and publicly represented that its PowerShift Transmissions provided

superior function, utility, reliability and other benefits and characteristics, to-wit: “PowerShift with

dry-clutch facings and new energy saving electromechanical actuation for clutches and gear shifts saves

weight, improves efficiency, increases smoothness, adds durability, and is sealed with law-friction gear

lubricant for the life of the vehicle. This transmission requires no regular maintenance.”

    786.        Ford further represented that its PowerShift Transmission was an “option” that was

worth paying upwards of $1,000 per vehicle over and above the equivalent vehicles equipped with

manual transmissions and/or automatic transmissions without PowerShift technology.

    787.        Ford’s representations were expected and intended to induce Plaintiff to purchase the

Vehicle equipped with PowerShift Transmissions and to pay the increased price for same.

    788.        Ford further withheld and continues to withhold information concerning the
                                                   61
    Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 62 of 63 PAGEID #: 62




Transmission Defects set forth herein, and affirmatively misrepresented and continues to

misrepresent the above described symptoms as being “normal,” when Ford knew and continue to

know that its representations and omissions are misleading and, in fact, Ford intended its

representations and omissions to mislead Plaintiff concerning the nature and existence of the above

described Transmission Defects.

    789.        Plaintiff reasonably relied on Ford’s representations and omissions; in doing so,

Plaintiff was deceived into purchasing the Vehicle at a price far greater than the values that would

have been assigned to it had the Transmission Defects and dangers been disclosed; further, Ford’s

representations and omissions deceived Plaintiff concerning the existence of the defects and Plaintiff’s

rights and remedies with respect to the Transmission Defects.

    790.        Had Plaintiff known of the true nature of the Transmission Defects, Plaintiff would

not have purchased the Vehicle or, alternatively, would not have paid the contract.

    791.        Ford’s representations and omissions as herein alleged were undertaken as an

affirmative scheme designed to prevent Plaintiff from obtaining information about the nature and

existence of the claims involving their Vehicle’s defective PowerShift Transmissions. In furtherance

of this scheme, Ford also represented to Plaintiff that the symptoms described above were “normal,”

or were somehow the fault of the Plaintiff, or that the problems had been repaired. All of these

statements were false and made with the intent to deceive and mislead Plaintiff, who relied on the

statements to Plaintiff’s detriment by failing to secure multiple repairs often required to substantiate

claims and submit said claims earlier.

        WHEREFORE, Plaintiff prays that this Honorable Court enters Judgment against Ford for

compensatory and punitive damages, in whatever amount above $75,000.00 Plaintiff is found to be

entitled, together with interest, costs and attorney fees, plus such other and further relief as this Court

deems appropriate.
                                                    62
Case: 1:21-cv-00742-TSB Doc #: 1 Filed: 11/29/21 Page: 63 of 63 PAGEID #: 63




                              DEMAND FOR JURY TRIAL
   Plaintiff hereby demands trial by jury in this action.




                                           Respectfully submitted,
                                           WELLS LAW OFFICE, INC.
                                           BY: /s/ Amy L. Wells
                                           AMY L. WELLS, Ohio Bar No. 0078247
                                           201 N. Garland Ct., 2908
                                           Chicago, IL 60601
                                           (773) 762-9104
                                           attorneyamywells@gmail.coms


                                           STERN LAW, PLLC
                                           BY:/s/ Kenneth A. Stern
                                               KENNETH A. STERN
                                           Pro Hac Vice, to be filed
                                           41850 W. Eleven Mile Road, Suite 121
                                           Novi, MI 48375-1857
                                           (248) 347-7315
                                           ken@sternlawonline.com




                                              63
